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               Exhibit 2
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                EXHIBIT C
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                                          UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF ILLINOIS
                                              SPRINGFIELD DIVISION

             Lacie Davis, individually and on behalf of all                    3:22-cv-03071
             others similarly situated,
                                                 Plaintiff,

                                   - against -

             Ricola USA, Inc.,
                                                 Defendant

                                   DECLARATION OF ANDREA LYNN MATTHEWS
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                      Pursuant to 28 U.S.C.§ 1746, I declare:

                      1.       I am an independent consultant on survey and research methodology, marketing

             research and a mixed-methods specialist for Phillips, Fractor, & Company, LLC (“Phillips

             Fractor”).

             I.      REQUIREMENTS OF RULE 26

                      2.       This Report contains (i) a complete statement of all opinions I will express and the

             basis and reasons for them and (ii) the facts or data considered in forming these opinions and any

             exhibits that will be used to summarize or support them. Fed. R. Civ. P. 26(a)(2)(B)(i)-(iii); Exhibit

             “A,” Factual Data.

                      3.       My qualifications, including a list of all publications authored in the previous 10

             years, are provided in an exhibit to this Report. Exhibit “B,” Curriculum Vitae; Fed. R. Civ. P.

             26(a)(2)(B)(iv).

                      4.       In accordance with Fed. R. Civ. P. 26(a)(2)(B)(v), a list of all other cases in which,

             during the previous 4 years, I testified as an expert at trial or by deposition is presented below.

                               Case Name            Elder v. Bimbo Bakeries USA, Inc.
                               Case Number          3:21-cv-00637-DWD
                               Forum                U.S. District Court, Southern District of Illinois

                      5.       The compensation paid to me for the study and testimony in this is $450 per hour.

             II.     BACKGROUND

                      6.       I received my Ph.D. from the University of Nebraska – Lincoln in Business

             (Marketing) in May 2018. My focus was on issues of branding, especially for human brands such

             as service providers and entrepreneurs. As part of my training, I studied Unfair Competition at the

             University of Nebraska College of Law. I previously received my master’s degree in Survey

             Research and Methodology from the University of Nebraska in 2013, which included Ph.D. level
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             coursework in the Psychology of Survey Response, Questionnaire Design, and Total Survey Error.

                      7.       Currently, I am an Assistant Professor of Marketing in the Barton School of Business

             at Wichita State University in Wichita, Kansas. I joined the Barton School faculty in Fall 2018

             where I regularly teach both the undergraduate introduction to marketing course (MKT 300) and

             the undergraduate marketing research course (MKT 403). The material I teach in these courses is

             directly related to the subject matter of this report.

                      8.       My research focuses on branding and brand perceptions. I regularly teach students

             about topics of deceptive advertising and brand confusion. With Drs. Ingersoll and Phillips, I am

             a coauthor on a case study published in the Journal of Case Studies (2021) that helps students

             identify deceptive advertising using statistical analysis methods.

                      9.       I regularly conduct survey research as part of my professorial responsibilities. A large

             portion of the Marketing Research (MKT 403) course I teach involves conducting original survey

             research for local client organizations. My responsibilities include identifying the research needs

             of the clients, instructing students in survey methodology, supervising student creation of original

             questionnaires, editing and revising a final questionnaire to be fielded, fielding the questionnaire

             in partnership with the client organization, supervising student analysis of the data, conducting

             further analysis of data for the client, and reporting the results of the survey research to the client.

             I have also consulted on issues of survey research and methodology with other entities in the

             Barton School of Business, including its Center for Economic Development and Business

             Research and its Center for Real Estate.

                      10.      I am a coauthor on multiple academic publications in the fields of marketing and of

             survey methodology. I have been published in the Journal of Business Research, the Journal of

             Services Marketing, the Journal of Survey Statistics and Methodology, and Hastings Business Law




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             Journal, among others.

                      11.      An article on which I was first author in the Hastings Business Law Journal on issues

             of survey methodology was cited and favorably quoted by the California Supreme Court in Duran

             v. US Bank National Assn. A full list of my publications can be found in my curriculum vita

             (Appendix A).

                      12.      I have ten years of experience as a consultant on the design, administration, and

             analysis of surveys for litigative purposes as well as other applied data analytics projects.

             III. SUBJECT OF REPORT

                      13.      This Report relates to a consumer survey I created and analyzed with William

             Ingersoll, Ph.D., of Phillips Fractor.

                      14.      Drs. G. Michael Phillips and M. Christine Phillips, also of Phillips Fractor, provided

             assistance with this Report, though I was the lead researcher.

                      15.      The scope of our assignment consisted of six parts.

                      16.      First, we were tasked with testing the extent to which consumer confusion exists

             regarding the source of the medicinal benefits (herbs versus menthol) found in Ricola Original

             Herb Cough Drops (the “Product”) sold by Ricola USA, Inc (“Unilever”).

                      17.      Second, we tested whether the presence or absence of the qualifying term “4.8mg of

             menthol per drop” changed consumer expectations regarding the source of the medicinal benefits

             for the Product.

                      18.      Third, we were tasked with testing whether the source of a cough drop’s medicinal

             benefits (herbs versus menthol) impacts consumer decisions regarding product choice.

                      19.      Fourth, we were asked to present the methodology we would use if requested to

             conduct a price premium analysis on the value consumers would place on the Product if its source



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             of medicinal benefits was herbs versus menthol.

             IV.     WORK PERFORMED

                      20.      We followed a scientifically rigorous process using appropriate methodology and

             best practices to test consumer perceptions and desires regarding the Product.

                      21.      This used our academic training in survey methodology and experimentation

             techniques as well as market research on this product category to design and carry out the study

             through discrete steps.

                      22.      First, we identified the target population for this study, as well as an appropriate

             sampling frame, to ensure our survey and experimental results would be valid.

                      23.      Second, we designed a survey experiment designed to obtain results that were

             causally meaningful and representative of the target market for the Product.

                      24.      We designed the questionnaire/instrument for our survey experiment using scientific

             best practices, following the theory and guidelines laid out in Biemer & Lyberg (2003), Diamond

             and Swann (2012), Dillman et al. (2014), Shadish et al. (2002), Tourangeau et al. (2000), and

             Groves (2005).

                      25.      Third, we hired a research vendor, Qualtrics, to recruit participants.

                      26.      Fourth, we pretested our questionnaire with an initial “soft launch” through the

             Qualtrics platform.

                      27.      Fifth, we launched the survey through Qualtrics.

                      28.      We collected the data, assessed its quality, and analyzed it to determine the answers

             to our research questions.

                      29.      The data are provided as a Microsoft Excel document at Appendix B.




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                        30.     The syntax used to analyze the data in SPSS is provided at Appendix C.1

                        31.     The tables and statistical output used in this Report are provided at Appendix D.

                        32.     Sixth, we prepared this Report to document the process and results.

             V.        SURVEY RESULTS

                    A. Summary

                        33.     44.1% of consumers of cough drops indicated that they believed that the Product’s

             cough suppressant and oral anesthetic benefits came from herbal ingredients only.

                        34.     When shown an edited version of the Product label that included the statement,

             “4.8mg of menthol per drop,” only 9.9% of consumers of cough drops indicated that they believed

             that the Product’s cough suppressant and oral anesthetic benefits came from herbal ingredients

             only

                        35.     Logistic regression finds that, for all consumers of cough drops, the impact of stating

             that cough drops contain “4.8mg of menthol per drop” statistically decreases belief that the

             product’s medical benefits come from herbal ingredients only.


                    B. Consumer Understanding about the Source of Product’s Health Benefits

                        36.     A total of 613 individuals completed the survey experiment. Of these, 102

             individuals were randomly assigned to view the Defendant’s Product label as it appears in the

             marketplace. In total, 44.1%, (45/102 individuals) incorrectly believed that this product’s cough

             suppressant and oral anesthetic benefits came from herbal ingredients only.

                        37.     Using bootstrapping methodology (Lohr 2021) and 25000 iterations, we calculated

             a 95% confidence interval around the 44.1% estimate of between 34.3% and 53.9% for the

             population as a whole.


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                 SPSS is a program for statistical analysis in social science.


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                        38.     Next, we focused on those individuals who had previously purchased Ricola

             Products. In total, 51 of the 102 individuals who viewed the Product label (50% = 51/102) had

             purchased at least one Ricola brand cough drop product in the last 12 months.

                        39.     Of these, 51% (26 of 51 individuals) who viewed the Product label incorrectly

             believed that this product’s health benefits came only from herbal ingredients (95% CI: 37.0%,

             64.8%).

                        40.     More specifically, 9 of the 102 individuals who viewed the Product label (8.8%,

             9/102) had purchased Ricola Original Herb Cough Drops in the past 12 months.

                        41.     Of these 9 individuals, 55.6% (5/9) incorrectly believed that this product’s health

             benefits came only from herbal ingredients.

                        42.     In comparison, we assessed the level of confusion regarding the source of the cough

             drop’s health benefits that resulted when consumers were shown an altered label of Defendant’s

             Product that included the text “4.8mg of menthol per drop.”

                        43.     A different set of 101 individuals were randomly assigned to view this experimental

             condition.2

                        44.     Of these, 49 individuals (48.5% = 49/101) had previously purchased any Ricola

             cough drops in the past 12 months, and 10 individuals (9.9% = 10/101) had purchased Ricola

             Original Herb Cough Drops in the past 12 months.

                        45.     Overall, 9.9% of the 101 consumers in this condition (95% CI: 5.0%, 15.8%)

             believed that the Product’s cough suppressant and oral anesthetic benefits came from herbal

             ingredients only. For past purchasers of any Ricola cough drops, 8.2% (4/49) believed that the

             health benefits in this condition came only from herbal ingredients. For past purchasers of Ricola



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                 Experimental conditions are also sometimes termed experimental treatments.


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             Original Herb Cough Drops, zero percent (0/10) believed that the health benefits in this condition

             came only from herbal ingredients.

                      46.        Thus, for the general target market of individuals who had purchased cough drops at

             all in the past 12 months, there was a decrease of 34.2 percentage points (44.1% – 9.9% = 34.2

             percentage point decrease), or a decrease of 34.2/44.1= 77.6%, in confusion regarding the source

             of health benefits caused by the labeling change. This decrease was even larger for past purchasers

             of Ricola products (51% - 8.2% = 42.8 percentage point decrease) and past purchasers of the

             Product (55.6% - 0% = 55.6 percentage point decrease).

                      47.        We also tested whether these results were similar across age group, gender, race,

             ethnicity, education level, income level, region, industry, whether individuals had taken a survey

             on the product category in the last 30 days, and people who took a relatively short time (less than

             179 seconds, 10th percentile) or relatively long time (greater than 675 seconds, 90th percentile) to

             complete the survey.

                      48.        We first ran a logistic regression (Hosmer & Lemeshow 2000) to predict the

             likelihood of believing that the cough drops’ health benefits came only from herbal ingredients.

                      49.        We ran this regression on both conditions of respondents who saw the original Ricola

             label and the altered Ricola label (n=193 due to 11 individuals having missing demographic data).

                      50.        Our binary input variables included:

                      i.          Whether respondents were in the “4.8 mg of menthol per drop” condition or not;

                      ii.         Whether respondents had purchased Ricola products in the last 12 months;

                      iii.        Whether respondents took a relatively long time to complete the survey (yes, no);

                      iv.         Whether respondents took a relatively short time to complete the survey (yes, no);

                      v.          Respondents’ race (white, nonwhite);




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                      vi.        Respondents’ ethnicity (Hispanic, non-Hispanic);

                      vii.       Respondents’ gender (male, female);

                      viii.      Geographic region indicators for the Midwest, Northeast, South, and West;

                      ix.        Industry indicators for marketing (yes, no), marketing research (yes, no), healthcare

                                 industry (yes, no), and pharmaceutical industry (yes, no);

                      x.         Whether respondents had taken a survey about over-the-counter medication in the

                                 last 30 days (yes, no); and

                      xi.        Whether respondents had seen news about Ricola in the past 30 days (separate

                                 indicators for yes, no, and not sure).

                      51.       Continuous variables included frequency of purchase within the product category,

             age, education level, and income.

                      52.       The results of the logistic regressions are as follows.

                      53.       Individuals who saw the edited label were statistically significantly less likely to

             believe that the cough drops’ health benefits came only from herbal ingredients (log-odds B= -

             1.92, p<.001). In addition, individuals who lived in the Midwest were significantly less likely to

             believe that the Product’s health benefits came only from herbal ingredients compared to the

             control condition (Northeast) (log-odds B= -1.22, p=.043).

                      54.       There were no other statistically significant predictors of belief regarding the cough

             drops’ source of health benefits at a p=.05 significance level.

                      55.       We next tested the similarity of these results to those found in a fictional control

             brand of cough drops (“First Choice” brand) to assess any unique impact of the Ricola brand on

             consumer perceptions of where the cough drops’ health benefits came from.

                      56.       Specifically, we reran the above logistic regression tests using the four conditions of




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             respondents who saw the Ricola original packaging, Ricola “4.8mg of menthol per drop”

             packaging, “First Choice” packaging, and “First Choice 4.8mg of menthol per drop” packaging.

             In addition to the predictor variables used above, we added a control variable for the brand context

             and included a two-way interaction between brand name and whether the label said it contained

             “4.8mg of menthol per drop.”

                      57.      As before, the impact of the edited “4.8mg of menthol per drop” condition

             significantly reduced consumers’ likelihood of believing that the health benefits of the cough drops

             came only from herbal ingredients (log-odds B= -1.24, p<.001). The impact of the interaction term

             was not statistically significant, indicating that the effect of the edited label is consistent for both

             the Ricola brand and the fictional brand.

                      58.      With regard to demographic variables, individuals who worked in the pharmaceutical

             industry were more likely than those who did not to believe that the cough drops’ source of health

             benefits was only herbal ingredients (log-odds B = 1.79, p=.007). In contrast, individuals with

             higher levels of income were less likely to believe that the cough drops’ health benefits came only

             from herbal ingredients (log-odds B= -1.156E-5, p<.001)

                      59.      Next, we conducted follow-up analysis to assess consumer confusion in the two

             fictional “First Choice” conditions to quantify how consumers respond to the fictional brand

             compared to the Ricola brand.

                      60.      One hundred eleven consumers viewed the “First Choice” condition that did not

             display the “4.8mg of menthol per drop” label. In this condition, 52.4% of consumers believed that

             the cough drops’ health benefits came from herbal ingredients only. Separately, 103 consumers

             viewed the “First Choice” condition that displayed the “4.8mg of menthol per drop” label. In this

             condition, 27.9% of consumers believed that the cough drops’ health benefits came from herbal




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             ingredients only.

                      61.      We concluded that a substantial percentage of individuals who see the label for the

             Defendant’s Product believe that the cough drops’ health benefits come only from herbal

             ingredients, and that this percentage is higher for prior purchasers of the brand and the Product.

             Further, we conclude that adjusting the label to read “4.8mg of menthol per drop” statistically

             significantly reduces consumers’ incorrect perceptions regarding the source of the cough drops’

             health benefits both for the Ricola brand and for a fictional brand which does not have any brand

             awareness or consumer expectations.

                      62.      We next applied statistical weighting3 to our analysis to identify any important

             differences in the results above if the sample was weighted to match population percentages for

             gender (male=48%, female=52%), age (18-34: 30%, 35-54: 32%, 55+: 38%), region (Northeast:

             17%, Midwest: 21%, West: 24%, South: 38%), race (white: 76.3%, black: 13.4%, Asian or Pacific

             Islander: 6%, American Indian/Alaskan Native: 1%), and Hispanic ethnicity (Hispanic: 18%, Non-

             Hispanic: 82%).

                      63.      Quotas were identified using Qualtrics standard quotas, supplemented with Census

             2020 data available at data.census.gov. The percentage of individuals who believed that the

             Product’s health benefits came only from herbal ingredients was similar across the two methods.


                  C. Importance of Source of Health Benefits

                      64.      Next, we assessed the importance to consumers of the source of the cough drops’

             medicinal benefits. First, 195 individuals were randomly assigned to see a condition that asked


             3
               Per the SPSS Support Manual at www.ibm.com, “A common approach is to compute weight variables for each of
             the categorical variables for which you want to adjust counts, based on the desired marginal proportions for these
             categorical variables. SPSS will only use 1 weight variable at a time, so the weight variables are combined by
             computing their product in a new variable, which is then used as a weight...Logical expressions like (gender=1) return
             a 1 if true; 0 if false. The ratio by which each of these logical expressions is multiplied reflects the desired percentage
             divided by the observed percentage. So, 50/60*(gender=1) returns a weight of 50/60=.83333 for gender 1.”


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             them to choose whether they would prefer to purchase an “herbal cough drop” that used herbal

             ingredients to provide cough suppressant and oral anesthetic benefits, an “herbal cough drop” that

             used menthol to provide cough suppressant and oral anesthetic benefits, whether they would not

             purchase either of these options, or don’t know.

                      65.      Twenty-five individuals responded with a “would not purchase either” or “don’t

             know” response and were dropped from analysis, leaving 170 datapoints. In total, 55.9% of the

             sample (95/170 individuals) indicated that they would prefer to purchase cough drops that used

             herbal ingredients to provide cough suppressant and oral anesthetic benefits (95% CI: 48.2%,

             63.5%). For consumers who had previously purchased Ricola cough drops in the past 12 months

             (n=79), 62% of them (49/79) indicated that would prefer to purchase cough drops that used herbal

             ingredients to provide cough suppressant and oral anesthetic benefits (95% CI: 51.2%, 72.8%). In

             addition, of consumers who had purchased Ricola Original Herb Cough Drops in the past 12

             months (n=16), 75% (12/16) indicated that they would prefer to purchase cough drops that used

             herbal ingredients to provide cough suppressant and oral anesthetic benefits (95% CI: 50%,

             94.1%).

                      66.      We then assessed whether preferences for the source of the product’s cough

             suppressant and oral anesthetic benefits varied by demographic group using a logistic regression

             (n=158 due to 12 individuals having missing demographic information). As before, our binary

             input variables included whether or not individuals had purchased Ricola cough drops in the last

             12 months, individuals’ race (white, nonwhite), ethnicity (Hispanic, non-Hispanic), gender (male,

             female), whether they took relatively long to complete the survey (yes, no), whether they took a

             relatively short time to complete the survey (yes, no), whether they had taken a survey on a similar

             product category (yes, no), geographic region indicators for the Midwest, Northeast, South, and




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             West, industry indicators for marketing, marketing research, healthcare, and pharmaceutical

             products, and whether they had previously seen news about Ricola in the past 30 days (separate

             indicators for yes, no, and not sure). Continuous variables included frequency of purchase of the

             product category, age, education level, and income.

                      67.      Results from the regression are as follows. Hispanic individuals were less likely to

             desire cough drops whose medicinal benefits came only from herbal ingredients (log-odds B= -

             1.32, p=.006), as were individuals who had taken a survey about over-the-counter medication in

             the last 30 days (log-odds B= -1.72, p=.007). None of the other demographic variables included in

             the logistic regression above, including purchase of the Ricola brand, were statistically significant

             predictors of preference for the source of the cereal bar’s flavor. We then reran the above logistic

             regression, substituting whether or not individuals had purchased Ricola Original Herb Cough

             Drops in the past 12 months instead of whether they had purchased any Ricola products in that

             time frame. Results were similar to those found above, and purchase of Ricola Original Herb

             Cough Drops was not significant at the p=.05 level.

                      68.      This indicates that preferences for the source of medicinal benefits in cough drops

             are consistent across the target market in age, race, region, gender, education, gender, and

             frequency of purchase, as well as purchase of the product category and Defendant’s product.

             VI.     STUDY METHODOLOGY

                   A. Target Population

                      69.      The target population for this study was adult US consumers of cough drops.

                      70.      We used an online mode of data collection for this research, collected via an online

             panel provider, Qualtrics.

                      71.      We used quota sampling to obtain sufficient representation of different genders




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             (male, female), US region (Northeast, South, Midwest, West), and age group (18-24, 25-34, 35-

             44, 45-54, 55-64, 65+) to adequately assess differences within these groups and make

             generalizations to the wider US population of consumers.

                      72.      It is widely accepted by survey professionals that quota sampling is necessary when

             using online panels to correct for overrepresentation of various gender, region, and age

             combinations of individuals (for instance, Baker et al. 2010).

                      73.      By using quota sampling, one can obtain a sample that has similar percentages to

             those found by the United States Census and similar “gold standard” research studies, and thus

             maximize the probability that one’s results are unbiased on these important demographic variables.

                      74.      Next, we used screening questions to recruit a sample of individuals who met the

             following criteria: 1) over 18 years of age, 2) residing in the United States, 3) who did at least

             some shopping for over-the-counter medication for their household and 4) who had purchased

             cough drops at least once in the past 12 months for their personal use.

                      75.      We purposefully chose to include in our study individuals who had purchased any

             brand of cough drops rather than those who had only purchased Ricola cough drops, or any who

             were considering purchasing cough drops but had not done so in the past year.

                      76.      Based on our academic and professional training and experience, we believe that this

             is an appropriate (neither too wide nor too narrow) target population.

                      77.      This is because individuals who purchased any brand of cough drops in the past year

             may be persuaded to try a different brand or type of cough drops due to reasons including sales

             promotions, advertising or supply chain issues impacting product availability.

                      78.      Therefore, purchasers of competitors’ cough drops are in the target market for the

             Product.




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                      79.      Finally, past behavior is typically considered the best predictor of future behavior in

             social science research (e.g. Ouellette and Wood 1998). As such, we believe that targeting in our

             study individuals who have purchased from the product category in the past 12 months allows us

             to state with confidence that we are in fact gaining information from individuals in the target

             market for Defendant’s Product.


                  B. Study Design and Reliability Assessment

                      80.      We designed our survey experiment following academic and practitioner best

             practices (Diamond and Swann 2012, Dillman et al. 2014, Shadish et al. 2002).

                      81.      A survey experiment is defined as a survey study wherein is embedded an

             experimental component that includes randomly assigning respondents to see different versions of

             questionnaire items (Gaines and Kuklinski 2007).

                      82.      Survey studies, by nature, are designed to collect information from a representative

             sample of a given target population for the purpose of accurately describing that target population.4

                      83.      Experimental studies use random assignment of individuals to one of multiple

             conditions, including a control group, to statistically test the impact of an independent

             (manipulated) variable on a dependent (measured) variable.

                      84.      Our study follows best practices for survey research, allowing our results to be used

             as representative point estimates, and also includes an experimental component that tested the

             impact of different package labels for cough drops on consumer levels of confusion.


             4
               A more complete seven-fold definition of a survey is as follows, per Biemer and Lyberg 2003: “1. A survey concerns
             a set of objects comprising a population. 2. The population under study has one or more measurable properties. 3. The
             goal of the project is to describe the population by one or more parameters defined in terms of the measurable
             properties. 4. To gain observational access to the population a frame is needed. 5. A sample of units is selected from
             the frame in accordance with a sampling design specifying a probability mechanism and sample size. 6. Observations
             are made on the sample in accordance with a measurement process. 7. Based on the measurements and estimation
             process is applied to compute estimates of the parameters with the purpose of making inferences from the sample to
             the population.” (p. 4)


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                      85.      We chose to include an experimental component in our survey because

             experimentation is the gold standard method for assessing causality, including for deceptive

             advertising cases (Diamond and Swann 2012).

                      86.      In this case, the experimental section of the survey tested 1) whether the presence or

             absence of a statement that cough drops contain “4.8mg of menthol per drop” causes a difference

             in consumer perceptions of the source of the cough drop’s cough suppressant and oral anesthetic

             benefits, and 2) whether cough drops that obtain their medical benefits from menthol or with herbs

             were differentially desirable to consumers.

                      87.      We ran two experimental studies in parallel in the survey, one of which assessed

             consumers’ perceptions of the source of the cough suppressant and oral anesthetic benefits in the

             cough drop, and one of which assessed consumer preferences for source of cough suppressant and

             oral anesthetic benefits for cough drops. We chose to run the studies in parallel to ensure that there

             would be no overlap in respondents across the two experiments.

                      88.      For the consumer perception experiment embedded in the survey, respondents were

             randomly assigned to one of four experimental conditions, as follows.

                      89.      First, to test specific levels of consumer confusion regarding the source of cough

             suppressant and oral anesthetic benefits in the Product, we included a condition that displayed real

             packaging of Ricola Original Herb Cough Drops provided by Plaintiff’s Counsel.

                      90.      A second condition displayed modified Ricola Original Herb Cough Drops

             packaging that additionally stated “4.8mg of menthol per drop.”

                      91.      The third and fourth conditions involved a fictional brand (First Choice) using the

             same menthol manipulation to test whether consumer perceptions were brand specific.

                      92.      In all four conditions, we asked respondents their perceptions regarding where they




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             believed the cough drop’s cough suppressant and oral anesthetic benefits came from.

                      93.      Thus, we conducted a 2 (control, “4.8mg of menthol per drop”) by 2 (Ricola, First

             Choice) full factorial design experiment to assess the impact of including the words “4.8mg of

             menthol per drop” on a package for a brand that was unknown compared to the impact for the

             Defendant’s Product.

                      94.      All question wording, along with screenshots of the instrument, are shown in the

             section titled “Question Wording and Survey Format.”

                      95.      The use of adapted product labels as a treatment and control condition in deception

             experimental studies is well established and appropriate for ascertaining the unique impact of a

             given brand attribute on consumer deception (Diamond and Swann 2012).

                      96.      In this case, our design allows us to 1) identify the level of consumer confusion

             present for the source of the cough drop’s suppressant and oral anesthetic benefits for the

             Defendant’s Product as it is currently labeled, 2) compare the level of consumer confusion for the

             Defendant’s Product to that of an unknown product, and 3) test whether adding the words “4.8mg

             of menthol per drop” to the Defendant’s Product impact the level of consumer confusion regarding

             the source of the cough drop’s suppressant and oral anesthetic benefits.

                      97.      For the consumer preferences experimental portion of the survey, respondents were

             randomly assigned to one of two experimental conditions.

                      98.      In both conditions, consumers were asked to imagine that they were going to the

             store to purchase cough drops, and that there were two alternatives to choose from: HERBAL

             COUGH DROP A, and HERBAL COUGH DROP B.

                      99.      These cough drops were both described as cough suppressants and oral anesthetics,

             made with high-quality herbs, having the same price, and being identical in every way except for




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             the source of their cough suppressant and oral anesthetic benefits.

                        100. Specifically, in condition 1, respondents were informed that, “HERBAL COUGH

             DROP A uses herbal ingredients to provide cough suppressant and oral anesthetic benefits, while

             HERBAL COUGH DROP B uses menthol to provide cough suppressant and oral anesthetic

             benefits.” In condition 2, the source of medicinal benefits for HERBAL COUGH DROP A and

             HERBAL COUGH DROP B were switched, to ensure that no bias would occur due to order

             effects.

                        101. In both conditions, respondents were asked to indicate whether they would purchase

             Herbal Cough Drop A, Herbal Cough Drop B, whether they would NOT purchase either of these

             options, or a “don’t know” option. Anyone who indicated that they would not purchase either

             option or that they didn’t know was removed from analysis. This experiment allowed us to test

             whether the source of the cough drops’ cough suppressant and oral anesthetic benefits consumer

             preferences and purchase intentions.

                        102. It is well known that respondents to surveys and experimental research often try to

             be helpful by giving researchers the answers they are looking for (Schwarz and Sudman 1996;

             Sudman 1995). It is therefore important to disguise the objectives of a survey or experiment to

             prevent bias. In this study, we included three questions presented before the experiment as a

             distractor task. These questions (detailed in the Question Wording section) asked the respondents

             to give their opinions on a new (fictional) flavor of First Choice brand Acai Berry Cough Drops.

             These questions were similar to those asked in new product development surveys that are

             commonly asked to online panels of consumers. By using this set of distractor questions, we

             believe we greatly reduced the likelihood that respondents would assume that the survey was

             conducted for litigation purposes.




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                      103. We chose to use the First Choice Cough Drops context to make the experiment seem

             relevant and related to the previous component of the instrument. We do not believe that answering

             questions about a new potential flavor of cough drops would in any way influence a respondent’s

             answer regarding their perceptions of the source of medicinal benefits in a cough drop, or their

             preferences for one source of benefits over another.

                      104. We then conducted a 30-person pretest of the experiment to ensure that it was

             technically coded and formatted correctly. We worked closely with the panel provider Qualtrics,

             who under our direct supervision programmed the survey to ensure that screening questions and

             quotas would be implemented correctly. Qualtrics is one of the leading research platforms used by

             academics for survey and experimental research, with extremely high quality and reliability,

             flexibility in design options, and control over the research process. The pretest used the same

             criteria and design as the main survey data collection. Data were collected for the pretest and

             reviewed, resulting in confirmation that the experiment was indeed programmed correctly. No

             changes were made to the survey experiment as a result of the pretest.


                  C. Data Collection

                      105. The survey was fielded from February 28, 2023 through March 17, 2023.

                      106. In total, 6754 individuals began the survey.

                      107. Of these, 1751 were screened out as not being in the target population, 763 failed to

             pass quality check questions in the survey, and 251 were identified as low quality respondents or

             bots and removed by Qualtrics’ quality assurance team.

                      108. In addition, 3186 individuals were screened out for entering the survey after relevant

             quotas were filled and 190 failed to fully complete the questionnaire.

                      109. After screening out ineligible respondents and incomplete responses, a total of 613



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             good quality responses remained to be used in analysis.

                       110. Since this survey used nonprobability quota sampling methods, we could not

             calculate a response rate. (Response rate calculations require the knowledge of the probability of

             selection for each individual in a previously determined sampling frame; see the AAPOR Task

             Force Report on Data Quality Metrics for Online Samples 20225). Similarly, we could not calculate

             a participation rate (the equivalent of a response rate for a nonprobability survey) since it requires

             knowledge of the number of eligible individuals in the sampling frame. This information does not

             exist since the survey was made available via a survey dashboard to an unspecified large number

             of panel participants.

                       111. However, this information is not needed for our analysis or particularly important,

             as response rates or participation rates for nonprobability Internet panel research are not useful

             measures of nonresponse error and are rather indicators of panel efficiency (AAPOR Standard

             Definitions). 6

             VII. QUESTION WORDING AND SURVEY FORMAT

                       112. We followed standard methodological procedure (Bradburn et al. 2004, Diamond

             and Swann 2012, Dillman et al. 2014, Schuman and Presser 1996, Tourangeau et al. 2000) to

             design the order, wording, and response options for our survey questions. We carefully considered

             question and response wording and formatting to ensure objectivity and avoid bias. A discussion

             of our methods for each question in the instrument follows.


                   A. Introduction

                       113. We began the survey with an introduction. Following best practices (Bradburn,



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                 AAPOR Task Force Report on Data Quality Metrics for Online Samples
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                 AAPOR Standard Definitions


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             Sudman, & Wansink 2004; Dillman et al. 2014; Tourangeau et al. 2000), the introduction stated

             the topic of the study, length, sensitivity of the subject matter, and anonymity of respondents.

             Respondents were told that the study was conducting consumer research about various topics, an

             accurate statement that would also discourage perceptions that the research was for litigative

             purposes. Following Diamond (2011), the study was double-blind in that neither the respondents

             nor the panel provider knew the sponsor of the study, to prevent respondents from presenting

             opinions that they believed the researchers wanted.

                      114. The introduction was worded as follows: “Hello! We are conducting consumer

             research about various topics. This survey should take between 10-12 minutes and will not ask any

             sensitive questions. There are no right or wrong answers and we appreciate your honest opinions.

             This survey is completely anonymous. Thank you in advance for your help with our research!”




                  B. Screening Questions

                      115. Next, a battery of screening questions was used to ensure that only respondents who

             were in the target population took the survey. First, we asked respondents how old they were, with

             categories of Under 18 (screened out), 18-24, 25-34, 35-44, 45-54, 55-64, and 65+, as shown

             below.




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                      116. We then asked respondents their gender, and screened out non-binary individuals

             and those who preferred not to reveal their gender.




                      117. We next asked respondents how they would describe their race and ethnicity through

             a series of two questions. The first asked if they considered themselves to be Hispanic, and the

             other asked them to describe their race using the categories used in the US Census.




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                      118. We then asked respondents, “In which state or U.S. territory do you live?” with a

             dropdown menu giving all 50 states, Washington D.C., Puerto Rico, and "I do not reside in the

             United States” as options. Quota sampling was used to ensure that we obtained sufficient responses

             from the Midwest, Northeast, South, and Western regions of the US.




                      119. We next asked respondents what topics they had taken a survey on in the last 30 days

             to ensure that individuals who might have taken a survey on a similar topic (over the counter

             medication) were not different in their perceptions of or preferences for the source of medicinal

             benefits for cough drops.




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             120.     Next, we asked respondents if they or anyone in their family worked for specific industries

                      to test whether respondents who worked in a given industry were different from others in

                      their perceptions regarding cough drops’ medicinal benefits source.




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                      121. We then asked respondents to indicate how much of their household’s shopping for

             over-the-counter medication they engaged in. Individuals who indicated that they did not do any

             of their household’s shopping for this product category, or that their household does not use over-

             the-counter medication, were screened out of the survey as not falling into the target population

             for Defendant’s Products.




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                      122. Next, we asked respondents to indicate which types of over-the-counter medication

             they had purchased for their own personal use in the last 12 months. Six types of medications were

             included to prevent respondents from guessing that the study was about the product category of

             cough drops. Only individuals who indicated that they had purchased “Cough drops” in the last 12

             months were permitted to continue the study; all others were screened out as not being in the target

             population for the study.




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                      123. Next, we assessed the frequency of purchase of cough drops for respondents. This

             control variable allowed us to assess whether purchase frequency of the product category was

             associated with different preferences and perceptions regarding cough drops.




                  C. Distractor Task

                      124. The next three questions were designed to distract the respondent from the real


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             purpose of the study. Distractor tasks are commonly used in experimental research to ensure that

             respondents give unbiased answers to the experimental questions (Allen 2017). In this study, we

             told respondents, “Now we’re going to ask you some questions about a new cough drop product.

             This product is not yet for sale. We would appreciate hearing your honest thoughts about this

             potential product. There are no right or wrong answers, and we thank you in advance for your

             opinions.” This opening statement is similar to those found in new product development studies,

             and was intended to persuade respondents that the purpose of this study was to research consumer

             perceptions about a new product, rather than for purposes of litigation.

                      125. The next questions were as follows: “Please imagine that while you were shopping

             for cough drops, you came across a new brand of cough drops: First Choice Acai Berry Cough

             Drops. The back of the package states, ‘Provides soothing throat relief and the flavor of the acai

             berry superfruit.’ How likely or unlikely would you be to purchase this product?” The fictional

             product description in this scenario was adapted from language used by different providers of

             cough drops on their product packaging.




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                      126. We also asked about consumers’ perceptions of acai berry flavored products. The

             results of these questions were not important to the study and were not considered in the analysis,

             as their purpose was simply to disguise the true objectives of the survey experiment.




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                  D. Experiment 1: Consumer Confusion – Benefit Perceptions

                      127. Consumers were next randomly assigned to view one of six scenarios (experimental

             conditions: four for Experiment 1: Benefit Perceptions, two for Experiment 2: Benefit Preference,

             as the four experiments were run in parallel). The first and second conditions in Experiment 1

             specifically tested different product labeling for Ricola Original Herb Cough Drops. Images for

             the Condition 1 manipulation were provided by counsel as representing Defendant’s Product

             packaging.

                      128. Condition 1 used the original Ricola label to assess consumer perceptions of the

             source of the cough suppressant and oral anesthetic benefits in the Defendant’s Product.

             Specifically, respondents were asked to imagine that they were shopping for cough drop and saw

             the following product on the shelf. They were asked to examine the product label, then to “indicate

             what you believe the product label is communicating about the source of the cough suppressant

             and oral anesthetic benefits offered by the cough drop. Specifically, please think about what the

             use of the statement, ‘ORIGINAL HERB COUGH DROPS’ means with regard to the source of


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             the cough drop’s suppressant and oral anesthetic benefits. Based on the product label, please

             indicate which of the following best describes where you believe the cough drop’s cough

             suppressant and oral anesthetic benefits come from.”

                      129. Respondents were given the closed-ended answer options of, “The cough drop’s

             cough suppressant and oral anesthetic benefits come from HERBAL INGREDIENTS ONLY,”

             “The cough drop’s cough suppressant and oral anesthetic benefits come from MENTHOL ONLY,”

             “The cough drop’s cough suppressant and oral anesthetic benefits come from HERBAL

             INGREDIENTS AND MENTHOL,” “The cough drop’s cough suppressant and oral anesthetic

             benefits come from NON-HERBAL INGREDIENTS OTHER THAN MENTHOL,” “The product

             label does not communicate anything about the source of the cough drop’s cough suppressant and

             oral anesthetic benefits,” and “None of the above.”

                      130. The first five options (besides “None of the above”) were presented in random order

             to prevent any bias occurring from order effects.

                      131. We chose to use a closed-ended rather than an open-ended question format based on

             the psychology of how individuals respond to questionnaire-based research (Bradburn et al. 2004,

             Tourangeau et al. 2000, Dillman et al. 2014). Closed-ended questions are those that articulate all

             possible choices that respondents can choose from. Open-ended questions do not have specified

             answer choices, instead leaving a space for respondents to write an answer in their own words.

             Closed-ended questions are less cognitively burdensome than are open-ended questions and thus

             easier for respondents to answer accurately. Since respondents vary in their levels of interest in the

             survey, literacy, and ability to put their thoughts into words, they will also vary in their ability to

             give complete, accurate, and valid answers to an open-ended question.

                      132. Closed-ended questions are therefore more accurate, reliable, and valid if they are




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             created to have mutually exclusive and exhaustive options that are non-biasing. Mutually exclusive

             options means that answer categories do not overlap (only one answer can be logically chosen,

             e.g. “X” and “Not X” are mutually exclusive). Exhaustive options are ones that cover all

             possibilities of responses a respondent might give, so that respondents can accurately choose a

             statement that describes their view (typically done by including an “other” or “None of these”

             option).

                      133. For our analysis, we have been asked to assume that the Defendant’s Product uses

             menthol as the source of the cough suppressant and oral anesthetic benefits in the cough drops.

             Consequently, if consumers perceive that the Product’s cough suppressant and oral anesthetic

             benefits come from herbal ingredients only, it indicates consumer confusion that may be associated

             with the product labeling. It is important to measure confusion in an unbiased fashion. We

             therefore included four possible ingredient combinations (herbal ingredients only, menthol only,

             herbal ingredients and menthol, non-herbal ingredients other than menthol) as well as an option

             indicating that the product label does not communicate anything about the source of these benefits,

             as well as a “none of the above” option, to ensure that respondents who have inaccurate beliefs

             about the source of the cough drop’s medicinal benefits but do not believe that the cough drops’

             benefits come from herbal ingredients only were able to express their beliefs. Including both an

             option indicating that the product label does not communicate anything about the source of benefits

             and a “none of above” option also ensures that our answer categories were exhaustive.

                      134. In our analysis, we examine the proportion of individuals who believe the Product’s

             cough suppressant and oral anesthetic benefits come from herbal ingredients only compared to all

             others who answered the question. This allows us to separate the percentage of respondents who

             were confused in a way that is potentially indicative of label confusion from those who were not.




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             Due to the numerous options present for respondents to select, we are confident that our response

             options provide an unbiased and meaningful measure of consumer confusion.




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                      135. In addition, we do not simply report levels of confusion in one condition, but test

             whether this amount of confusion differs for Ricola versus a fictional brand, and for the original

             label versus an edited one where the words “4.8mg of menthol per drop” are present. In Condition

             2, we modified the Product’s label via digital graphical editing software to include the words

             “4.8mg of menthol per drop” directly below the product name “Original Herb Cough Drops.” This

             type of editing for comparison of product labels with and without a given feature is best practices

             for experiments of this type.7

                      136. By comparing the percentage of individuals who believe that the source of the cough

             drop’s cough suppressant and oral anesthetic benefits is only herbal ingredients for Condition 1

             versus Condition 2, we can statistically assess the importance of including versus excluding the


             7
               Per Diamond and Swann (2012), best practices for a control cell to test false advertising are as follows: “In the test
             cell, the respondents see the advertising as it exists. In the control cell(s), the respondents are shown either a modified
             version of the original advertisement or, in some cases, another real advertisement. Where modified ads are shown,
             they are typically designed to directly refute the claimed false inference. For example, a disclaimer that appears less
             than prominently in the original ad may be modified to make the disclaimer much more prominent in the control cell
             ad...In a survey the modified advertisement is used only to estimate the survey artifacts, and the difference between
             the defendant’s advertisement and a modified advertisement can be a reliable “net of noise” predictor of real-world
             perceptions.” (p. 228)


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            words “4.8mg
            words “4.8mg of
                         of menthol per drop”
                            menthol per drop” on
                                              on the
                                                 the Product
                                                     Product label.
                                                             label.

                        Now please imagine that you are shopping for cough drops and see the following product
                        on the shelf. Please take a moment to examine the following product label.




                                                              ORIGINAL HERB
                                                                 COUGH DROPS
                                                                 4.8 mg of menthol per drop




                                                                   great tasting
                                                                  effective relief




                          Based on the product label that you just saw, please indicate what you believe the product
                          label is communicating about the source of the cough suppressant and oral anesthetic
                          benefits offered by the cough drop. Specifically, please think about what the use of the
                         statement, "ORIGINAL HERB COUGH           DROPS, 4.8 mg of menthol per drop" means with
                          regard to the source of the cough drop's suppressant and oral anesthetic benefits.


                          Based on the product label, please indicate which of the following best describes where you
                          believe the cough drop's cough suppressant and oral anesthetic benefits come from.




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                      137. We next broaden our experiment to test whether the Product has different or similar

             levels of confusion to a fake brand. This allows us to test whether there is a unique brand effect

             for Ricola products. As such, Condition 3 is the same as Condition 1, but uses the fictitious “First

             Choice” brand and image. Since this brand does not exist, consumers will have no brand

             knowledge of where the cough drops’ medicinal benefits come from, and thus it is useful to

             establish a baseline for the amount of confusion to be expected when a brand uses this wording on

             a product label to describe its cough drops.




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                        Furst Chart
                                     ORIGINAL HERB
                                        COUGH DROPS




                                             great tasting
                                            effective relief




              Based on the product label that you just saw, please indicate what you believe the product
              label is communicating about the source of the cough suppressant and oral anesthetic
              benefits offered by the cough drop. Specifically, please think about what the use of the
              statement, "ORIGINAL HERB COUGH DROPS" means with regard to the source of the
              cough drop's suppressant and oral anesthetic benefits.

              Based on the product label, please indicate which of the following best describes where you
              believe the cough drop's cough suppressant and oral anesthetic benefits come from.




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                 The cough drop's cough suppressant and oral anesthetic benefits come from HERBAL
                 INGREDIENTS ONLY



                 The cough drop's cough suppressant and oral anesthetic benefits come from MENTHOL ONLY



                 The cough drop's cough suppressant and oral anesthetic benefits come from HERBAL
                 INGREDIENTS AND MENTHOL



                 The cough     drop's cough     suppressant     and    oral anesthetic   benefits come from   NON-HERBAL
                 INGREDIENTS OTHER THAN MENTHOL



                 The product label does        not communicate        anything   about the source of the cough   drop's cough
                 suppressant    and     oral anesthetic   benefits




                 None    of the above




                        138.
                        138. Similarly,
                             Similarly, Condition
                                        Condition 4
                                                  4 is
                                                    is identical
                                                       identical to
                                                                 to Condition
                                                                    Condition 2,
                                                                              2, except
                                                                                 except using
                                                                                        using the
                                                                                              the fictional
                                                                                                  fictional “First
                                                                                                            “First

            Choice” brand and
            Choice” brand and image,
                              image, as
                                     as shown
                                        shown below.
                                              below.

                            Now please imagine that you are shopping for cough drops and see the following product
                           on the shelf. Please take                   a moment to examine the following product label.




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                                                 Furst: Choe
                                                            ORIGINAL HERB
                                                               COUGH DROPS
                                                               4.8 mg of menthol per drop




                                                                 great tasting
                                                                effective relief




                          Based on the product label that you just saw, please indicate what you believe the product
                         label is communicating about the source of the cough suppressant and oral anesthetic
                         benefits offered by the cough drop. Specifically, please think about what the use of the
                         statement, "ORIGINAL HERB COUGH         DROPS, 4.8 mg of menthol per drop" means with
                         regard to the source of the cough drop's suppressant and oral anesthetic benefits.


                          Based on the product label, please indicate which of the following best describes where you
                         believe the cough drop's cough suppressant and oral anesthetic benefits come from.




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                  E. Experiment 2: Benefit Preference

                      139. In our second experiment, we assessed the extent to which consumers preferred to

             purchase cough drops where the cough suppressant and oral anesthetic benefits came from herbal

             ingredients versus from menthol. This experiment had two conditions. In both conditions,

             consumers were given the following instructions: “Now please imagine that you are going to the

             store to purchase cough drops. You enter the store where you typically purchase cough drops and

             see two types of cough drops for sale. Please imagine that they are called HERBAL COUGH

             DROP A and HERBAL COUGH DROP B. They are both cough suppressants and oral anesthetics,

             and both are made with high-quality herbs including peppermint, sage, and thyme, as well as other

             herbs. They both state that they are “great tasting” and offer “effective relief.” These are the only

             types of cough drops for sale, and you do not have time to go to a different store. Please imagine

             that HERBAL COUGH DROP A and HERBAL COUGH DROP B are the same price and are

             identical in every way except for one aspect.”

                      140. In Condition 1 of this experiment, respondents were told, “Specifically, HERBAL



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             COUGH DROP A uses herbal ingredients to provide cough suppressant and oral anesthetic

             benefits, while HERBAL COUGH DROP B uses menthol to provide cough suppressant and oral

             anesthetic benefits. Assuming that these were the only two options of cough drops available, would

             you prefer to purchase HERBAL COUGH DROP A, HERBAL COUGH DROP B, or would you

             not purchase either of them?”

                      141. In Condition 2, these flavor options were reversed, as follows: “Specifically,

             HERBAL COUGH DROP A uses menthol to provide cough suppressant and oral anesthetic

             benefits, while HERBAL COUGH DROP B uses herbal ingredients to provide cough suppressant

             and oral anesthetic benefits. Assuming that these were the only two options of cough drops

             available, would you prefer to purchase HERBAL COUGH DROP A, HERBAL COUGH DROP

             B, or would you not purchase either of them?”

                      142. By randomizing the order in which respondents were exposed to the different

             medicinal benefit sources, and whether they were matched with the “A” or “B” brand, we remove

             the possibility of bias due to order effects.

                      143. In each of these two conditions, respondents were shown a table with relevant

             characteristics of the product packages in question, including product name, herbal ingredients,

             price, count, benefit (cough suppressant, oral anesthetic), and source of medical benefits (menthol

             (4.8mg per drop), herbs). The product name, herbal ingredients, price, count, and benefits were

             copied from an online retailer for Ricola Original Herb Cough Drops to ensure external validity of

             the experiment. For answer choices, respondents were able to select that they “Would purchase

             Herbal Cough Drop A,” “Would purchase Herbal Cough Drop B,” “Would NOT purchase either

             of these options,” or “Don’t know.” We included both a “would not purchase” and a “don’t know”

             option in order to not artificially inflate the number of people selecting that they would purchase




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            cough
            cough drops
                  drops with
                        with one
                             one source
                                 source of
                                        of medicinal
                                           medicinal benefits
                                                     benefits over
                                                              over another.
                                                                   another.

                     144.
                     144. Conditions
                          Conditions 11 and
                                        and 2
                                            2 for
                                              for Experiment
                                                  Experiment 2
                                                             2 are
                                                               are shown below in
                                                                   shown below in order.
                                                                                  order.

                                Now please imagine that you are going to the store to purchase cough drops. You enter the
                                store where you typically purchase cough drops and see two types of cough drops for sale.
                                Please imagine they are called HERBAL COUGH           DROP A and HERBAL COUGH            DROP
                                B. They are both cough suppressants and oral anesthetics, and both are made with high-
                                quality herbs including peppermint, sage, and thyme, as well as other herbs. They both
                                state that they are "great tasting” and offer "effective relief." These are the only types of
                                cough drops for sale, and you do not have time to go to a different store.


                                Please imagine that HERBAL COUGH          DROP A and HERBAL COUGH            DROP B    are the
                                same price and are identical in every way except for one aspect. Specifically, HERBAL
                                COUGH     DROP A   uses herbal ingredients to provide cough suppressant and oral
                                anesthetic benefits, while HERBAL COUGH         DROP B    uses menthol to provide cough
                                suppressant and oral anesthetic benefits. Assuming that these were the only two options of
                                cough drops available, would you prefer to purchase HERBAL COUGH             DROP A, HERBAL
                                COUGH     DROP B, or would you not purchase either of them?

                                                                       Herbal Cough Drop A               Herbal Cough Drop B
                                                    Product               Herbal Cough Drop                 Herbal Cough Drop
                                        Herbal Ingredients           Peppermint, Elder, Wild          Peppermint, Elder, Wild
                                                                Thyme, Horehound, Hyssop,|        Thyme, Horehound, Hyssop,
                                                               Mallow, Thyme, Lemon Balm,| Mallow, Thyme, Lemon Balm,
                                                                         Linden Flower, Sage               Linden Flower, Sage

                                                       Price                             $2.49                            $2.49
                                                      Count                21 wrapped drops                  21 wrapped drops
                                                    Benefit         Cough suppressant, oral           Cough suppressant, oral
                                                                                   anesthetic                         anesthetic
                                       Source of medicinal                               Herbs!    Menthol (4.8 mg per drop)
                                                    benefits


                                  Would purchase Herbal Cough Drop A


                                  Would purchase Herbal Cough Drop B


                                  Would NOT purchase either of these options



                                   Don't know




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                  F. Demographics

                      145. After responding to the experimental portion of the survey above, respondents were

             asked additional demographic questions. First, they were asked which brands of cough drops they

             had purchased in the last 12 months for their own, personal consumption. This question was asked



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             to establish product category familiarity, as well as brand-specific familiarity. We were therefore

             able to test whether the answers to the experimental manipulations were different for individuals

             who were purchasers versus non-purchasers of the Ricola brand.

                      146. The order of the brands listed before the “Other Brand” section was randomized to

             prevent any bias due to order effects. (For instance, Ricola products could appear first, second,

             third, etc. in the list). The “Store Brand” and “Other Brand” options were always displayed last,

             after the randomized other elements in the list. The list of products was compiled through market

             research on nationally known brands of cough drops sold in major retailers.




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                      147. Next, respondents who indicated that they had purchased Ricola brand cough drops

             in the past 12 months were asked what flavors of Ricola cough drops they had purchased in the

             past 12 months for their own, personal use. Flavors were randomized in order to prevent bias due

             to order effects. We were therefore able to test whether the answers to the experimental

             manipulations were different for individuals who were purchasers versus non-purchasers of

             Defendant’s Product.




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                      Which flavors of Ricola cough drops have you purchased in the last 12 months for your
                      own, personal use? Please select all that apply.


                         Ricola Original Swiss Herb cough drops



                         Ricola Honey Herb cough drops


                         Ricola Honey Lemon with Echinacea cough drops



                         Ricola Max Throat Care Honey Lemon cough drops



                         Ricola Max Throat Care Swiss Cherry cough drops



                         Ricola Max Throat Care Cool Peppermint cough drops


                         Ricola Lemon Mint throat drops




                        Ricola Cherry Honey throat drops



                        Ricola Berry Medley throat drops



                     148. Next, respondents
                     148. Next, respondents were
                                            were asked
                                                 asked to
                                                       to report
                                                          report their
                                                                 their education
                                                                       education level,
                                                                                 level, as
                                                                                        as this was used
                                                                                           this was used as
                                                                                                         as aa

            control variable in
            control variable in our
                                our analysis.
                                    analysis.




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                      149. Next, we asked respondents to report their household income, as follows. This was

             used as a control variable in our analysis.




                      150. We then asked respondents whether or not they had read, seen, or heard any news

             regarding the Ricola brand or Ricola, USA in the last 30 days. This variable was used as a control,

             to assess whether awareness of the lawsuit or other news about Ricola impacted respondents’

             answers to the survey experiment.



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                      151. Finally, respondents were allowed to write comments or questions in an open-ended

             comment box. This allowed respondents to comment on the experiment or identify for the

             researchers if any problems or issues had occurred during the survey.




             VIII. ASSESSMENT OF DATA QUALITY

                      152. On average, respondents took 412.61 seconds (6.9 minutes) to complete the survey.

             This is not unduly long or burdensome for online surveys (Dillman et al. 2014). Indeed,

             respondents who volunteered feedback were largely positive about the survey, with exemplars

             stating “great survey,” “it was fast and easy,” and that “everything was good.” As such, we do not

             believe that there are significant issues of data quality due to respondent fatigue or disinterest.

                      153. Typically, people who “speed” through a survey (take a very short amount of time

             to complete the survey) are at risk of giving poorer responses than those who do not (Zhang and

             Conrad 2014). Because of this, we calculated a binary variable indicating whether individuals were

             at less than the 10th percentile of duration (179 seconds) and included it in our multivariate analysis

             presented above. As such, we control for the presence of “speeders” in our multivariate analysis


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             and can be confident that our conclusions regarding statistical significance are not adversely

             impacted by this variable.

                      154. Tables of descriptive statistics for survey respondents are as follows. As shown, we

             obtained a sizable number of respondents for each major demographic group to allow statistical

             testing to occur, though some smaller demographic groups were under-represented.

                      155. To account for potential differences in perceptions of our focal variables, we included

             the demographic variables below in our analysis. We conducted multivariate testing to control for

             any additive impact of the below demographic variables on consumers’ perceptions of the source

             of the medicinal benefits of the cough drops.

                                              Gender

                                                              Frequency         Percent

                                              Male            295               48.1%
                                              Female          318               51.9%
                                              Total           613               100%


                                               Age
                                                                    Frequency       Percent
                                                      18-24               71        11.6%
                                                      25-34              114        18.6%
                                                      35-44              121        19.7%
                                                      45-54               76        12.4%
                                                      55-64              110        17.9%
                                                       65+               121        19.7%
                                                      Total              613         100%




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                                               Hispanic
                                                                Frequency      Percent

                                               Non-
                                                                       504       82.2%
                                               Hispanic
                                               Hispanic                109       17.8%
                                               Total                   613        100%


                                                 Race
                                                                Frequency     Percent

                                                 White                461     75.2%
                                                 Black                 80     13.1%
                                                 American
                                                                       16      2.6%
                                                 Indian
                                                 Asian                 35      5.7%
                                                 Pacific
                                                                        2        .3%
                                                 Islander

                                                 Other                 31      5.1%



                                   Region
                                                          Frequency           Percent
                                   Midwest                126                 20.6%
                                   Northeast              105                 17.1%
                                   South                  234                 38.2%
                                   West                   148                 24.1%
                                   Total                  613                 100.0




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                                 Frequency of Purchase of Cough
                                 Drops
                                                                               Frequency          Percent

                                 Less often than once a year                 19              3.1%
                                 About once a year                           73              11.9%
                                 A few times a year                          287             46.8%
                                 About once a month                          117             19.1%
                                 About two to three times a month            79              12.9%
                                 Once a week or more                         38              6.2%
                                 Total                                       613             100%


                               Purchased Ricola Products?

                                                                            Frequency              Percent
                               Had not purchased any Ricola product   326                    53.2%
                               in past 12 months

                               Had purchased at least one Ricola      287                    46.8%
                               product in past 12 months

                               Total                                  613                    100.0%


                               Purchased Ricola Original Herb
                               Cough Drops?
                                                                               Frequency             Percent


                               Had not purchased in past 12 months                         555         90.5%
                               Had purchased in past 12 months                              58          9.5%
                               Total                                                       613        100.0%
             IX.     CONCLUSIONS DRAWN

                      156. Using our professional and academic experience and training, we designed and

             conducted a valid and reliable survey experiment that tested the perceived source of the cough

             suppressant and oral anesthetic benefits of Ricola Original Herb Cough Drops according to

             consumers, and the importance of the sources of these medical benefits to their choice preferences.

                      157. We followed best practices and academic guidelines to minimize Total Survey Error

             (Groves 2005) in the creation and fielding of this survey, and conducted pretests to ensure that it



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             was understood by the target market and able to be completed accurately.

                      158. The sample was selected according to rigorous standards and quotas to enable

             statistical assessment within demographic groups as well as testing of any differences between

             them. We cleaned, coded, and analyzed the data based on our training, experience, and best

             practices.

                      159. We therefore believe that the survey presented above provides a valid and reliable

             estimate of the perceptions of purchasers of cough drops with regard to: (1) the source of the cough

             suppressant and oral anesthetic benefits for Ricola Original Herb Cough Drops, and (2) preferences

             for cough drops which derive the medicinal benefit from only herbal ingredients compared to

             menthol.

                      160. Overall, the survey indicates that over forty percent of the target market for Ricola

             Original Herb cough drops believes that the medical benefit of these cough drops came from herbal

             ingredients only.

                      161. More than fifty percent of consumers who have previously purchased Ricola

             Products believe that the product’s health benefits came only from herbal ingredients. These results

             held for consumers who had previously purchased Ricola Original Herb cough drops specifically,

             and consumers who have not purchased these particular cough drops.

                      162. When shown an edited version of the label that included the statement, “4.8mg of

             menthol per drop,” the percent of customers who believed that the product’s health benefits came

             only from herbal ingredients was significantly reduced (p<.05). Specifically, less than 10% of the

             overall target market or past users of the Product believed that the medicinal benefit of the Product

             came only from herbal ingredients when this label was present. The effect of this edited label was

             similar both for the Ricola brand and for a fictional brand.




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                      163. Finally, we found that a majority of consumers overall and past purchasers of Ricola

             products would rather purchase cough drops whose medicinal benefits came from herbal

             ingredients only compared to from menthol.

                      164. Based on the results of this study, we conclude that the source of cough suppressant

             and oral anesthetic benefits in cough drops matters to a sizable proportion of the target market for

             the Product, and that there was significant confusion with regard to the source of the Product’s

             cough suppressant and oral anesthetic benefits for its target market, including past purchasers.

             X.      PROPOSED METHODS FOR PRICE PREMIUM STUDIES

                      165. A reasonable next step for research would be to measure the amount that consumers

             would be willing to pay for cough drops that they believed obtained their cough suppressant and

             oral anesthetic benefits from herbal ingredients only, compared to those who obtained these

             benefits through menthol.

                      166. In marketing research, this is commonly assessed through conjoint analysis (Green

             and Srinivasan 1990).

                      167. In econometric analysis, this is commonly assessed through hedonic analysis of

             actual pricing data. In this section, we lay out proposed methods we would follow in performing

             both of these types of studies and analysis.


                  A. Overview of Conjoint Analysis

                      168. Conjoint analysis is a standard practice in marketing research for identifying the

             unique impact of one product factor, such as size, price, color, or other attribute of a product, on

             willingness to purchase this item.

                      169. In a conjoint analysis, survey methodology is used to select respondents who are in

             the target market for a given product and who are therefore assumed to be familiar with the various



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             attributes that products in the product category may have, such as brand name, price, color, size,

             style, material, and so forth. Individuals are then presented with numerous tasks where they are

             asked to choose between a small number (typically 3-4) of hypothetical products and indicate

             which they would purchase, or whether they would not purchase any of these products.

                      170. In a choice task, each hypothetical product has a list of “attributes” (e.g. size) that

             have a given “level” (e.g. small, medium, large). All hypothetical products in a given choice task

             have the same attributes, but the levels of these attributes differ. For instance, a roasted almonds

             company might show respondents products with different hypothetical flavor, color, size, and price

             variations. Flavor, color, size, and price are the attributes of this study, while “6 oz” and “4 oz”

             might be the levels of the attribute “size.”

                      171. A consumer might first be asked to choose between, for instance, Product 1: Sweet

             Cinnamon flavor, yellow color, 6 oz, $4.99; Product 2: Sweet Cinnamon flavor, red color, 4 oz,

             $3.99; or Product 3: Smoked flavor, red color, 6 oz, $4.99. Next, that same customer might be

             asked to choose between Product 1, Product, 2, and Product 4: Smoked flavor, yellow color, 4 oz,

             $3.99. This choice-based data collection allows researchers to isolate and measure the specific

             utility to consumers of each given attribute level of a hypothetical product, such as “red color” and

             “6 oz size.” For instance, appropriate statistical analysis and use of a market simulator might reveal

             that there is a $.10 price premium associated with yellow product label coloring, but a $.25 price

             premium associated with red product label coloring.

                      172. Because it would be cognitively burdensome for consumers to choose between every

             combination of each attribute level that is being tested in a new hypothetical product, conjoint

             analysis uses statistical processes to select smaller combinations of product attribute levels that

             still allow for statistical analysis of the value of each attribute level to be made. The process of




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             choice-based conjoint analysis thus creates a large dataset of multiple choice preferences for many

             potential consumers that collectively generates thousands of datapoints.

                      173. To statistically identify how much consumers are willing to pay for each given

             component of a product’s makeup, we would use hierarchical Bayes regression analysis

             (Raudenbush & Bryk 2002) or similar appropriate statistical methodology to assess consumers’

             preferences for different attribute levels of a product. We would additionally use a market

             simulator that models consumer choice at different price points to identify the predicted price

             premium associated with specific product attribute levels.

                      174. If requested, we would conduct market research on current product attribute levels

             for Defendant’s Product, then create, pretest, have fielded, analyze, and create a report on the

             results of a conjoint analysis to determine any market price premium associated with cough drops

             obtaining their medical benefits from only herbal ingredients compared to menthol or any other

             ingredients as requested.


                  B. Proposed Steps for Conducting the Conjoint Analysis Survey

                      175. If requested to do so, we will design and create a price premium survey following

             best practices for survey methodology as laid out in Biemer & Lyberg (2003), Diamond and Swann

             (2012), Dillman et al. (2014), Tourangeau et al. (2000), and Groves (2005). We will also follow

             best practices for general conjoint analysis as laid out in Green and Srinivasan (1990) and more

             specific best practices for the conjoint analysis software being used (Sawtooth Software) (Orme

             2002, 2010; Orme and Chrzan 2017; Sawtooth Software Technical Paper Series 2009).

                      176. If we conducted this survey, we would first identify the target population. We expect

             that the target population for this study would be defined as US adult (age 18+) consumers who

             had previously purchased Defendant’s Products in the past 12 months for personal consumption.



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             This would be an appropriate conservative choice of target population, as it would limit

             respondents to those with actual practice in choosing the Defendant's Product compared to its

             competitors in the marketplace. Before creating the survey, we would determine if adjustments to

             this target population definition were warranted based on changing conditions or additional

             information.

                      177. Second, we would create a screening survey using Qualtrics to ensure that only

             members of the identified target population above took the survey. Screening criteria would

             involve being at least 18 years of age, residing in the US, having purchased Defendant’s Products

             in the past 12 months, and selecting a gender of either male or female. We would also employ

             quota sampling based on gender, race and ethnicity, and age to gather sufficient numbers of

             individuals in each category to be able to statistically identify any impact of these demographic

             variables on our outcomes, and to be able to statistically extrapolate from the sample results to the

             wider population.

                      178. A further component of this screening survey will include a distractor task to hide

             the true purpose of the survey from respondents. As in the consumer survey described earlier in

             this report, consumers will be asked questions about their perceptions of a fictional cough drop

             (“First Choice Acai Berry Cough Drops”) and how this product might be used if brought to market.

             These questions will be similar to those that customers would see in a real new product

             development study and should thus serve to disguise the purpose of the study.

                      179. Third, we would use Sawtooth Software to create the conjoint analysis component

             of the survey. Sawtooth Software is the market leader for conducting professional, high quality

             conjoint analysis and has an advanced platform that allows researchers to tailor and design the

             conjoint analysis to fit the needs of their project. Using this software, we would design a set of




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             simulated products. In doing so, we would create an optimum number of simulated products that

             would both not place an excessive cognitive burden on respondents and also gather a large enough

             dataset of respondent choices for analysis. We anticipate showing respondents three hypothetical

             products in each choice task (rather than four) and asking respondents to complete approximately

             12 choice tasks (rather than up to 20, as is sometimes done in conjoint analysis) to help prevent

             extreme cognitive burden.

                       180. We would identify relevant product attributes and levels thereof for the hypothetical

             products by conducting market research of the product category to establish external validity of

             the simulated products. Currently, we anticipate using the following attributes and levels, though

             this could be fine-tuned based on cognitive interviews, changing market conditions, or additional

             information: Brand (Ricola, First Choice), Price (varied in statistically appropriate increments

             based on current market prices), Count (held constant, e.g. 21 wrapped drops), and Source of

             medicinal benefits (Herbs, Menthol).

                       181. Fourth, we would conduct at least five cognitive interviews using the survey

             instrument to identify any areas of confusion for respondents. Cognitive interviews would take

             place by having interviewees each read aloud the instructions and then discuss their thought

             process regarding how they are answering the questions for the survey and each choice task for

             the conjoint analysis. Based on the results of the cognitive interviews, the survey wording and

             instructions might be modified to decrease the likelihood of measurement error.

                       182. Fifth, we would pretest the survey with approximately fifty respondents. This would

             allow us to identify any potential problems with the technical survey coding or other mechanical

             errors.

                       183. Sixth, after addressing any issues identified in the pretest, we would field the survey




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             using a panel provider. We anticipate using the panel provider Dynata, which is used to working

             with conjoint analysis surveys and providing large samples of consumers who fit whatever

             screening criteria are required for these types of studies. To protect the double-blind nature of the

             study, neither the respondents nor the individuals responsible for recruiting respondents in the

             panel provider would be informed regarding the sponsorship of the study. We would seek to

             acquire sufficient data in all quota categories to allow for precise estimation of price premium

             information across demographic groups. We would then review the data to identify any issues of

             quality.

                      184. Seventh, we would analyze the data using appropriate statistical methods (e.g.,

             hierarchical Bayes regression analysis, a market simulator) to identify any predicted price

             premiums associated with the “flavor source” attributes’ various levels.

                      185. Finally, we would anticipate writing a report detailing our methods, results, and the

             conclusions of our price premium survey and analysis.


                  C. Hedonic Pricing Model

                      186. Hedonic pricing, used at least as early as Haas (1922) and Court (1939), and re-

             popularized by Rosen (1974), is a technique used by economists to estimate the value of different

             characteristics of a good. It accomplishes this by comparing a set of products, their characteristics,

             and the prices of those goods. Using regression analysis, the price premiums, or hedonic prices,

             for each of the characteristics are estimated. In plain English, this means that we can estimate the

             additional price a consumer is willing to pay for each of these characteristics individually. There

             are numerous examples in the literature of using a hedonic pricing model to estimate price

             premiums in differentiated good products. For some examples, see Corsia and Strømb (2013) on

             organic wine; Kminoff, Zhang, and Rudi (2004) on green hotels; Maguire, Owens, and Simon



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             (2004) on organic babyfood; Schollenberg (2012) on Fair Trade coffee; and Phillips (2003) on

             internet domain names.

                      187. With regards to the matter at hand, a hedonic price model can be used for the

             purposes of estimating the value gained by the label “Original Herb Cough Drops” without clearly

             marking them as containing “4.8mg of menthol per drop.” Specifically, this would be

             accomplished by denoting the characteristic of not displaying “4.8mg of menthol per drop” on the

             packaging. If we account for all other price-relevant characteristics (for example, brand, flavor,

             weight, etc.) along with not being marked “4.8mg of menthol per drop,” the resulting hedonic price

             estimate for the characteristic of not being marked “4.8mg of menthol per drop” will give us a

             value of how much more a product was marked up compared to a similar product without this

             characteristic.

                      188. To accomplish this, we would need to either find a relevant data set or gather data

             ourselves. The data should consist of different products and their characteristics. Such data could

             be collected in various ways including retail product price surveys, review of online vendors, and

             perhaps from wholesalers or the producers directly.

                      189. We would use these data to estimate a hedonic pricing model as described above and

             to write a report detailing our methods and findings.


                     I declare under penalty of perjury that the foregoing is true and correct.

                     Executed on     June 12, 2023 | 2:46:16 PM EDT



                                                        Lynn Matthews, PhD




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            APPENDIX A:
            APPENDIX A: Curriculum
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                                            A. Lynn
                                               Lynn Matthews
                                                    Matthews

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             A. LYNN MATTHEWS,                                    PH.D.
             December 2022




             Education

             Ph.D. 2018       Marketing, University of Nebraska - Lincoln
                              Dissertation: "Perceived Authenticity in Human-Branded Services"

             M.S. 2013        Survey Research & Methodology, University of Nebraska - Lincoln
                              Minor in Marketing

             B.A. 2011        Sociology, Grove City College
                              Minors in Business, Religion



             Research Interests

             Managerially focused research on branding, with a focus on person-brands, branding for start-
             up and small firms, and consumer perceptions of firm behaviors that impact brand perceptions
             (e.g. CSR, controversy, scandal). | am also interested in mixed methods research, survey and
             questionnaire-based research, and other issues of methodology.



             Professional Memberships

             American Marketing Association (AMA)
             Academy of Marketing Science (AMS)
             American Association for Public Opinion Research (AAPOR)



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             Experience



                Fall 2018 to:         Assistant Professor
                    Present:          Department of Marketing
                                      W. Frank Barton School of Business
                                      Wichita State University (Kansas)

             2012 to present:         Consultant
                                      Phillips, Fractor   & Company, LLC (California)

             Spr & Smr 2014:          Instructor
             Spr & Smr 2015:          University of Nebraska — Lincoln
                   Fall 2017:

             Summer 2012:             Survey Research Intern
                                      David Nazarian College of Business and Economics
                                      California State University, Northridge (California)

               2011 — 2013:           Gallup Research Scholar
                                      University of Nebraska - Lincoln

               2010 — 2012:           Marketing Research Staff
                                      Center for Computationally Advanced Statistical Techniques (c4cast)
                                      Pasadena, CA



            Courses Taught

             Marketing Research                                    Principles of Marketing
             International Marketing                                             Introductory Marketing




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             Publications

            “Signaling Authenticity for Frontline Service Employees."                       A. Lynn Matthews and Meike Eilert.
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             “Curtain Promises: Draped in Puffery?” William Ingersoll, A. Lynn Matthews, and G. Michael
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             “When and How Frontline Service Employee Authenticity Influences Purchase Intentions.”
            A. Lynn Matthews, Meike Eilert, Les Carlson, and Jim Gentry. (2020). Journal of Business
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             “Organizational Learning and Inter-Organizational Knowledge Transfer,” in R. Dant and C.
             Ingene (Eds.) Ravi Sohi and A. Lynn Matthews. The Handbook of Research on Distribution
             Channels. Edward Elgar Publishing 2019.

            “What Are You Doing Now? Activity-Level Responses and Recall Failures in the American Time
            Use Survey.” Tarek Al Baghal, Robert Belli, A. Lynn Phillips, and Nick Ruther. Journal of Survey
            Statistics and Methodology 2(4):519-537.

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             Undead.” In G. Whitman and J. Dow (Eds.). A.L. Phillips, M. C. Phillips, and G. M. Phillips.
             Economics of the Undead (pp. 201-210). Lanham, MD: Rowman & Littlefield.

             The Quest of the Unaligned. Mountain Home, AR: Borderstone Press, 2013. (Novel, includes
             pedagogical discussion and essay questions for use in undergraduate sociology classes)

             “What's Good in Theory May Be Flawed in Practice: Potential Legal Consequences of Poor
             Implementation of a Theoretical Sample.” A. Lynn Phillips, G. Michael Phillips, Melanie S.
            Williams.    Hastings Business Law Journal 9(1):77-97.

            “The Impact of Neighborhood Ethnic Composition on Availability of Financial Planning Services.”
            James T. Chong, A. Lynn Phillips, G. Michael Phillips. Journal of Financial Service Professionals
            65(6):71-83.



            A. Lynn Matthews, Ph.D.                           December 2022                                             Page 3
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             “The Persistence of Traditional Gender Stereotypes: Evidence from the Distribution of
             Academic Honors at a Female-Majority University.” A. Lynn Phillips, G. Michael Phillips. The
             American Journal of Business Education 3(10):45-53.

             Phillips, A. Lynn. (2010). “Homeschooling is an Art, not a Science: The Impact of Homeschooling
             on Choice of College Major.” Sociological Viewpoints 26(2):19-25.



             Working Papers

             “What Makes ‘The Great Outdoors’ So Great? The Impact of Perceived Authenticity of Natural
             Spaces on Consumer Outcomes.” A. Lynn Matthews, and Seth Cockrell. Status: Revising for
             resubmission at the Journal of Public Policy and Marketing.

             “Sympathy or Shock: How Transgression Diagnosticity Impacts Consumer Behavioral Intentions
             Toward Person-Brands.” A. Lynn Matthews and Sarah S. F. Luebke. Status: Under review at the
             Journal of Product and Brand Management.


             Conference Presentations (**denotes presenter)

             “How to Be Real: Understanding and Assessing Enactment Strategies of Service Provider
             Authenticity.” A. Lynn Matthews and Meike Eilert**. AMS National Conference (Virtual), Dec
             2020.

             “How to Build Your Reputation: Survey Findings and Implications.” A. Lynn Matthews** and
             Blaine Aikin. Fi360 Conference for Investment Professionals (Virtual), May 2020.

             “Entrepreneurship in Marketing:        A Comprehensive Review of the Literature.”        A. Lynn
             Matthews** and Amit Saini. Global Research Symposium on Marketing and Entrepreneurship,
             August 2017.




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             “... And Here Are Pictures of My Last Vacation! Investigating the Disclosure of Personal
             Information of Entrepreneurs in Online Marketplaces.” A. Lynn Phillips**, Meike Eilert, and
             James Gentry.    Poster, ACR North America Conference, October 2015.

             “Consumer Perceptions of Controversiality in Business.” A. Lynn Phillips** and Meike Eilert.
             Poster, AMA Public Policy & Marketing Conference, June 2015.

             “Everyday Consumption and Perceptions of Oldness: Barnhart and Penaloza Extended.” A. Lynn
             Phillips**, James Gentry, and Michelle Barnhart. ACR Latin America Conference, July 2014.

             “Troubles with Time-Use: Examining Potential Indicators of Error in the ATUS.” A. Lynn
             Phillips**, Tarek al Baghal, and Robert Belli. AAPOR 68th Annual Conference, May 2013.

             “What Are You Doing Now? Audit Trails and Activity Level Responses and Error in the American
             Time Use Survey.” T. al Baghal**, A. L. Phillips, N. Ruther, R.F. Belli, L. Stuart, A. Eck, and L-K
             Soh. AAPOR 68th Annual Conference, May 2013.

             “Georgia on Their Minds: The Impact of War and Financial Crisis on Georgian Confidence in
             Social and Governmental Institutions.” A. Lynn Phillips**, Davit Tsabutashvili, and Allan L.
             McCutcheon. AAPOR 67th Annual Conference, May 2012.

             “Homeschooling is an Art, not a Science: The Impact of Homeschooling on Choice of College
             Major.” A. Lynn Phillips*. Pennsylvania Sociological Society 59th Annual Conference, October
             2009.



             Awards and Honors

             Real Estate Research Fellow, Wichita State University                                                  2018-2020
             Dean’s Fellowship, UNL College of Business Administration                                                     2017
             Fellowship, American Association of University Women,                          Lincoln Branch                 2017
             UNL College of Business Administration Graduate Student Research Award                                        2017
             UNL Department of Marketing Award for Excellence in Teaching by a Graduate Student                            2016
             UNL Department of Marketing Award for Excellence in Service by a Graduate Student                             2016




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             Fellow, 2016 Haring Symposium, Indiana University (student presenter)                                2016
             UNL Department of Marketing Award for Excellence in Research by a Graduate Student                   2015
             Fellow, AMA-Sheth Doctoral Consortium, London Business School                                        2015
             Doctoral Fellowship, University of Nebraska—Lincoln, Marketing Ph.D. Program                2013-present
             Graduate Research Assistantship, University of Nebraska— Lincoln, Survey Research
                     and Methodology Program                                                               2011-2013
             Best Undergraduate Paper Award, Pennsylvania Sociological Society                                    2009




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            APPENDIX B:
            APPENDIX B: Excel
                        Excel Sheet
                              Sheet of
                                    of Data
                                       Data

            (Provided
            (Provided Separately)
                      Separately)




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             APPENDIX C: SPSS Syntax
                      * Encoding: UTF-8.

                      DATASET ACTIVATE DataSet1.
                      FILTER OFF.
                      USE ALL.
                      SELECT IF (gc = 1).
                      EXECUTE.


                      recode race_amind (1=1) (sysmis=0).
                      recode race_w (1=1) (sysmis=0).
                      recode race_b (1=1) (sysmis=0).
                      recode race_asian (1=1) (sysmis=0).
                      recode race_pi (1=1) (sysmis=0).
                      recode race_oth (1=1) (sysmis=0).
                      recode inc (8=sysmis) (9=sysmis).
                      compute long=0.
                      compute short=0.
                      if(Durationinseconds>675) long=1.
                      if(Durationinseconds<179) short=1.
                      recode survey_meds (sysmis=0).
                      recode ind_pharm (sysmis=0).
                      recode ind_health (sysmis=0).
                      recode ind_mkt (sysmis=0).
                      recode ind_mr (sysmis=0).
                      recode dec_rorig (1=1) (6=2) (7=3) (8=4) (3=5) (9=6).
                      recode dec_redit (1=1) (6=2) (7=3) (8=4) (3=5) (9=6).
                      recode dec_fcorig (1=1) (6=2) (7=3) (8=4) (3=5) (9=6).
                      recode dec_fcedit (1=1) (6=2) (7=3) (8=4) (3=5) (9=6).
                      execute.


                      recode mat_1 (1=1) (2=0) (88=sysmis) (99=sysmis) into prefherbs.
                      recode mat_2 (2=1) (1=0) (88=sysmis) (99=sysmis) into prefherbs.
                      compute cond_ric=0.
                      recode Condition (3=1) (4=1) into cond_ric.
                      compute cond_herb=0.
                      compute cond_edit=0.
                      recode Condition (3=1) (5=1) into cond_herb.
                      recode Condition (4=1) (6=1) into cond_edit.
                      execute.

                      recode purch_ric (1=1) (sysmis=0).
                      recode purch_ricorig (1=1) (sysmis=0).
                      execute.




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                      compute confused_rorig=0.
                      recode dec_rorig (1=1) (sysmis=sysmis) into confused_rorig.
                      compute confused_redit=0.
                      recode dec_redit (1=1) (sysmis=sysmis) into confused_redit.
                      compute confused_fcorig=0.
                      recode dec_fcorig (1=1) (sysmis=sysmis) into confused_fcorig.
                      compute confused_fcedit=0.
                      recode dec_fcedit (1=1) (sysmis=sysmis) into confused_fcedit.
                      execute.

                      compute confused=sum(confused_rorig, confused_redit, confused_fcorig, confused_fcedit).
                      recode confused (1=1) (sysmis=sysmis) (else=0).
                      execute.




                      *confusion regarding benefit source.



                      BOOTSTRAP
                       /SAMPLING METHOD=SIMPLE
                       /VARIABLES INPUT=dec_rorig
                       /CRITERIA CILEVEL=95 CITYPE=PERCENTILE NSAMPLES=25000
                       /MISSING USERMISSING=EXCLUDE.
                      FREQUENCIES VARIABLES=dec_rorig
                       /ORDER=ANALYSIS.


                      BOOTSTRAP
                       /SAMPLING METHOD=SIMPLE
                       /VARIABLES INPUT=dec_redit
                       /CRITERIA CILEVEL=95 CITYPE=PERCENTILE NSAMPLES=25000
                       /MISSING USERMISSING=EXCLUDE.
                      FREQUENCIES VARIABLES=dec_redit
                       /ORDER=ANALYSIS.



                      BOOTSTRAP
                       /SAMPLING METHOD=SIMPLE
                       /VARIABLES INPUT=dec_fcorig
                       /CRITERIA CILEVEL=95 CITYPE=PERCENTILE NSAMPLES=25000
                       /MISSING USERMISSING=EXCLUDE.
                      FREQUENCIES VARIABLES=dec_fcorig
                       /ORDER=ANALYSIS.




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                      BOOTSTRAP
                       /SAMPLING METHOD=SIMPLE
                       /VARIABLES INPUT=dec_fcedit
                       /CRITERIA CILEVEL=95 CITYPE=PERCENTILE NSAMPLES=25000
                       /MISSING USERMISSING=EXCLUDE.
                      FREQUENCIES VARIABLES=dec_fcedit
                       /ORDER=ANALYSIS.


                      USE ALL.
                      COMPUTE filter_$=(purch_ric = 1).
                      VARIABLE LABELS filter_$ 'purch_ric= 1 (FILTER)'.
                      VALUE LABELS filter_$ 0 'Not Selected' 1 'Selected'.
                      FORMATS filter_$ (f1.0).
                      FILTER BY filter_$.
                      EXECUTE.


                      USE ALL.
                      COMPUTE filter_$=( purch_ricorig = 1).
                      VARIABLE LABELS filter_$ ' purch_ricorig = 1 (FILTER)'.
                      VALUE LABELS filter_$ 0 'Not Selected' 1 'Selected'.
                      FORMATS filter_$ (f1.0).
                      FILTER BY filter_$.
                      EXECUTE.


                      USE ALL.
                      COMPUTE filter_$=( cond_ric = 1).
                      VARIABLE LABELS filter_$ ' cond_ric = 1 (FILTER)'.
                      VALUE LABELS filter_$ 0 'Not Selected' 1 'Selected'.
                      FORMATS filter_$ (f1.0).
                      FILTER BY filter_$.
                      EXECUTE.

                      DATASET ACTIVATE DataSet1.
                      PRESERVE.
                      SET RNG=MT MTINDEX=1989.
                      SHOW RNG.



                     GENLIN confused (REFERENCE=FIRST) BY race_w hisp score_state purch_ric
                       gender news long short condition survey_meds ind_pharm ind_health ind_mkt ind_mr
             (ORDER=DESCENDING) WITH freqpurch age ed inc
                      /MODEL race_w hisp score_state purch_ric
                        gender news long short condition survey_meds ind_pharm ind_health ind_mkt ind_mr
             freqpurch age ed inc
                     INTERCEPT=YES
                     DISTRIBUTION=BINOMIAL LINK=LOGIT



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                    /CRITERIA METHOD=FISHER(1) SCALE=1 COVB=ROBUST MAXITERATIONS=100
             MAXSTEPHALVING=5
                     PCONVERGE=1E-006(ABSOLUTE) SINGULAR=1E-012 ANALYSISTYPE=3(WALD)
             CILEVEL=95 CITYPE=WALD
                     LIKELIHOOD=FULL
                    /MISSING CLASSMISSING=EXCLUDE
                    /PRINT CPS DESCRIPTIVES MODELINFO FIT SUMMARY SOLUTION.
                   RESTORE.


                      *all four conditions.

                    GENLIN confused (REFERENCE=FIRST) BY race_w hisp score_state purch_ric
                       gender news long short cond_ric cond_edit survey_meds ind_pharm ind_health ind_mkt ind_mr
             (ORDER=DESCENDING) WITH freqpurch age ed inc
                      /MODEL race_w hisp score_state purch_ric
                        gender news long short cond_ric cond_edit cond_ric*cond_edit survey_meds ind_pharm
             ind_health ind_mkt ind_mr freqpurch age ed inc
                     INTERCEPT=YES
                     DISTRIBUTION=BINOMIAL LINK=LOGIT
                      /CRITERIA METHOD=FISHER(1) SCALE=1 COVB=ROBUST MAXITERATIONS=100
             MAXSTEPHALVING=5
                       PCONVERGE=1E-006(ABSOLUTE) SINGULAR=1E-012 ANALYSISTYPE=3(WALD)
             CILEVEL=95 CITYPE=WALD
                       LIKELIHOOD=FULL
                      /MISSING CLASSMISSING=EXCLUDE
                      /PRINT CPS DESCRIPTIVES MODELINFO FIT SUMMARY SOLUTION.
                    RESTORE.



                      *survey weights to match population. XX/YY - XX=desired %, YY=observed %.

                      compute age4weight=0.
                      recode age (2=1) (3=1) (4=2) (5=2) (6=3) (7=3) into age4weight.
                      compute raceaspi=0.
                      recode race_asian (1=1) into raceaspi.
                      recode race_pi (1=1) into raceaspi.
                      execute.

                    compute genwt=.52/.519*(gender=1)+.48/.481*(gender=0).
                    compute agewt=.3/.302*(age4weight=1)+.32/.321*(age4weight=2)+.38/.377*(age4weight=3).
                    compute
             racewt2=.763/.752*(race_w=1)+.134/.131*(race_b=1)+.06/.06*(raceaspi=1)+.01/.026*(race_amind=1).
                    compute hispwt=.18/.178*(hisp=1)+.82/.822*(hisp=0).
                    compute
             regwt=.21/.206*(score_state=2)+.17/.171*(score_state=1)+.38/.382*(score_state=3)+.24/.241*(score_stat
             e=4).
                    compute weight=genwt*agewt*racewt2*hispwt*regwt.
                    execute.



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                      *materiality .


                      DATASET ACTIVATE DataSet1.
                      FREQUENCIES VARIABLES=mat_1 mat_2
                       /ORDER=ANALYSIS.

                      BOOTSTRAP
                       /SAMPLING METHOD=SIMPLE
                       /VARIABLES INPUT=prefherbs
                       /CRITERIA CILEVEL=95 CITYPE=PERCENTILE NSAMPLES=25000
                       /MISSING USERMISSING=EXCLUDE.
                      FREQUENCIES VARIABLES=prefherbs
                       /ORDER=ANALYSIS.

                      PRESERVE.
                      SET RNG=MT MTINDEX=1989.
                      SHOW RNG.
                      BOOTSTRAP
                       /SAMPLING METHOD=SIMPLE
                       /VARIABLES TARGET=prefherbs INPUT= race_w hisp score_state purch_ric
                        gender freqpurch age ed inc news long short survey_meds ind_pharm ind_health ind_mkt
             ind_mr
                           /CRITERIA CILEVEL=95 CITYPE=PERCENTILE NSAMPLES=2000
                           /MISSING USERMISSING=EXCLUDE.

                   GENLIN prefherbs (REFERENCE=FIRST) BY race_w hisp score_state purch_ric
                     gender news long short condition survey_meds ind_pharm ind_health ind_mkt ind_mr
             (ORDER=DESCENDING) WITH freqpurch age ed inc
                    /MODEL race_w hisp score_state purch_ric
                     gender freqpurch age ed inc news long survey_meds ind_pharm ind_health ind_mkt ind_mr
             INTERCEPT=YES
                   DISTRIBUTION=BINOMIAL LINK=LOGIT
                    /CRITERIA METHOD=FISHER(1) SCALE=1 COVB=ROBUST MAXITERATIONS=100
             MAXSTEPHALVING=5
                     PCONVERGE=1E-006(ABSOLUTE) SINGULAR=1E-012 ANALYSISTYPE=3(WALD)
             CILEVEL=95 CITYPE=WALD
                     LIKELIHOOD=FULL
                    /MISSING CLASSMISSING=EXCLUDE
                    /PRINT CPS DESCRIPTIVES MODELINFO FIT SUMMARY SOLUTION.
                   RESTORE.

                  GENLIN prefherbs (REFERENCE=FIRST) BY race_w hisp score_state purch_ricorig
                    gender news long short condition survey_meds ind_pharm ind_health ind_mkt ind_mr
             (ORDER=DESCENDING) WITH freqpurch age ed inc
                   /MODEL race_w hisp score_state purch_ricorig
                    gender freqpurch age ed inc news long survey_meds ind_pharm ind_health ind_mkt ind_mr
             INTERCEPT=YES
                   DISTRIBUTION=BINOMIAL LINK=LOGIT
                   /CRITERIA METHOD=FISHER(1) SCALE=1 COVB=ROBUST MAXITERATIONS=100
             MAXSTEPHALVING=5


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                     PCONVERGE=1E-006(ABSOLUTE) SINGULAR=1E-012 ANALYSISTYPE=3(WALD)
             CILEVEL=95 CITYPE=WALD
                     LIKELIHOOD=FULL
                    /MISSING CLASSMISSING=EXCLUDE
                    /PRINT CPS DESCRIPTIVES MODELINFO FIT SUMMARY SOLUTION.
                   RESTORE.




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             APPENDIX D: Tables Used in Analysis

             Descriptive Statistics




                                               age
                                                                          Cumulative
                                Frequency    Percent    Valid Percent      Percent
              Valid    2               136       10.6             10.6               10.6
                       3               262       20.3             20.3               30.9
                       4               266       20.7             20.7               51.6
                       5               144       11.2             11.2               62.7
                       6               207       16.1             16.1               78.8
                       7               273       21.2             21.2           100.0
                       Total          1288      100.0           100.0




                                             gender
                                                                          Cumulative
                                Frequency    Percent    Valid Percent      Percent
              Valid    0               620       48.1             48.1               48.1
                       1               668       51.9             51.9           100.0
                       Total          1288      100.0           100.0




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                                               age
                                                                          Cumulative
                                Frequency    Percent    Valid Percent      Percent
              Valid    2                71       11.6             11.6               11.6
                       3               114       18.6             18.6               30.2
                       4               121       19.7             19.7               49.9
                       5                76       12.4             12.4               62.3
                       6               110       17.9             17.9               80.3
                       7               121       19.7             19.7           100.0
                       Total           613      100.0           100.0




                                             gender
                                                                          Cumulative
                                Frequency    Percent    Valid Percent      Percent
              Valid    0               295       48.1             48.1               48.1
                       1               318       51.9             51.9           100.0
                       Total           613      100.0           100.0




                                               hisp
                                                                          Cumulative
                                Frequency    Percent    Valid Percent      Percent
              Valid    0               504       82.2             82.2               82.2
                       1               109       17.8             17.8           100.0
                       Total           613      100.0           100.0




                                             race_w
                                                                          Cumulative
                                Frequency    Percent    Valid Percent      Percent
              Valid    0               152       24.8             24.8               24.8
                       1               461       75.2             75.2           100.0
                       Total           613      100.0           100.0




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                                               race_b
                                                                            Cumulative
                                Frequency     Percent    Valid Percent       Percent
              Valid    0               533        86.9            86.9                 86.9
                       1                80        13.1            13.1             100.0
                       Total           613       100.0           100.0




                                             race_amind
                                                                            Cumulative
                                Frequency     Percent    Valid Percent       Percent
              Valid    0               597        97.4            97.4                 97.4
                       1                16         2.6              2.6            100.0
                       Total           613       100.0           100.0




                                             race_asian
                                                                            Cumulative
                                Frequency     Percent    Valid Percent       Percent
              Valid    0               578        94.3            94.3                 94.3
                       1                35         5.7              5.7            100.0
                       Total           613       100.0           100.0




                                              race_pi
                                                                            Cumulative
                                Frequency     Percent    Valid Percent       Percent
              Valid    0               611        99.7            99.7                 99.7
                       1                 2          .3                 .3          100.0
                       Total           613       100.0           100.0




                                              race_oth
                                                                            Cumulative
                                Frequency     Percent    Valid Percent       Percent
              Valid    0               582        94.9            94.9                 94.9
                       1                31         5.1              5.1            100.0
                       Total           613       100.0           100.0




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                                                      region
                                                                                           Cumulative
                                      Frequency       Percent        Valid Percent           Percent
              Valid    midwest                  126           20.6               20.6                     20.6
                       northeast                105           17.1               17.1                     37.7
                       south                    234           38.2               38.2                     75.9
                       west                     148           24.1               24.1                100.0
                       Total                    613         100.0             100.0




                                                freqpurch
                                                                                        Cumulative
                                   Frequency      Percent       Valid Percent            Percent
              Valid    0                  19            3.1                3.1                      3.1
                       1                  73           11.9               11.9                     15.0
                       3                 287           46.8               46.8                     61.8
                       12                117           19.1               19.1                     80.9
                       30                 79           12.9               12.9                     93.8
                       52                 38            6.2                6.2                 100.0
                       Total             613          100.0              100.0




                                                purch_ric
                                                                                        Cumulative
                                   Frequency      Percent       Valid Percent            Percent
              Valid    0                 326           53.2               53.2                     53.2
                       1                 287           46.8               46.8                 100.0
                       Total             613          100.0              100.0




                                               purch_ricorig
                                                                                        Cumulative
                                   Frequency      Percent       Valid Percent            Percent
              Valid    0                 555           90.5               90.5                     90.5
                       1                  58            9.5                9.5                 100.0
                       Total             613          100.0              100.0




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             Consumer Beliefs About Source of Benefits

             Full sample

             Ricola Original Label



             Responses to, “Please indicate which of the following best describes where you believe the
             cough drop’s cough suppressant and oral anesthetic benefits come from.” 1=HERBAL
             INGREDIENTS ONLY, 2=MENTHOL ONLY, 3=HERBAL INGREDIENTS AND
             MENTHOL, 4=NON-HERBAL INGREDIENTS OTHER THAN MENTHOL, 5=The
             product does not communicate anything about the source of the cough drop’s cough
             suppressant and oral anesthetic benefits, 6=None of the above



                                                                dec_rorig
                                                                                                Bootstrap for Percenta
                                                                                                              95% Confidence
                               Frequenc                Valid         Cumulative                   Std.            Interval
                                  y         Percent   Percent         Percent       Bias         Error        Lower        Upper
              Valid   1                45      44.1        44.1              44.1          .0        4.9         34.3         53.9

                      2                2        2.0            2.0           46.1          .0        1.4              .0       4.9

                      3                32      31.4        31.4              77.5          .0        4.6         22.5         40.2

                      4                10       9.8            9.8           87.3          .0        2.9          4.9         15.7

                      5                10       9.8            9.8           97.1          .0        2.9          4.9         15.7

                      6                3        2.9            2.9          100.0          .0        1.7              .0       6.9

                      Total           102     100.0       100.0                            .0            .0     100.0        100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples




                                                                       76
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             Subsample: Purchasers of Ricola Products

             Ricola Original Label




                                                                      dec_rorig
                                                                                                           Bootstrap for Percenta
                                                                                                                          95% Confidence
                                  Frequenc                   Valid         Cumulative                        Std.             Interval
                                     y        Percent       Percent         Percent           Bias           Error        Lower        Upper
              Valid   1                  26         51.0            51.0             51.0            .0          7.1         37.0         64.8

                      2                  1           2.0             2.0             52.9            .0          1.9              .0       6.5

                      3                  15         29.4            29.4             82.4            .0          6.4         17.2         42.6

                      4                  5           9.8             9.8             92.2            .1          4.2          2.2         18.8

                      5                  4           7.8             7.8           100.0             .0          3.8          1.8         16.0

                      Total              51     100.0              100.0                             .0              .0     100.0        100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples




             Subsample: Purchasers of Ricola Original Herb Cough Drops

             Ricola Original Label


                                                     dec_roriga
                                                                                            Cumulative
                                     Frequency        Percent        Valid Percent           Percent
              Valid       1                     5           55.6              55.6                        55.6
                          3                     2           22.2              22.2                        77.8
                          4                     1           11.1              11.1                        88.9
                          5                     1           11.1              11.1                   100.0
                          Total                 9          100.0             100.0
              a. Some or all bootstrap sample results are missing, so no bootstrap estimation
              has been performed for this table.




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             Full Sample

             Ricola Edited Label: Contains the phrase “4.8mg of menthol per drop”


                                                                  dec_redit
                                                                                                         Bootstrap for Percenta
                                                                                                                       95% Confidence
                                                                      Cumulative                                             Interval
                               Frequency   Percent    Valid Percent        Percent         Bias        Std. Error    Lower           Upper
              Valid   1               10        9.9             9.9                  9.9          .0          3.0            5.0          15.8

                      2                9        8.9             8.9              18.8             .0          2.8            4.0          14.9

                      3               66       65.3            65.3              84.2             .0          4.8         55.4            74.3

                      4                5        5.0             5.0              89.1             .0          2.2            1.0           9.9

                      5                9        8.9             8.9              98.0             .0          2.8            4.0          14.9

                      6                2        2.0             2.0            100.0              .0          1.4             .0           5.0

                      Total          101      100.0           100.0                               .0            .0      100.0            100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples



             Subsample: Purchasers of Ricola Products

             Ricola Edited Label: Contains the phrase “4.8mg of menthol per drop”



                                                                 dec_redit
                                                                                                       Bootstrap for Percenta
                                                                                                                      95% Confidence
                                                                      Cumulative                                          Interval
                               Frequency   Percent    Valid Percent    Percent             Bias        Std. Error    Lower         Upper
              Valid   1                4        8.2             8.2              8.2              .0         4.0          1.9            16.7

                      2                2        4.1             4.1             12.2              .0         2.8             .0          10.5

                      3               36       73.5           73.5              85.7              .0         6.3         60.9            85.4

                      4                3        6.1             6.1             91.8              .0         3.4             .0          13.6

                      5                3        6.1             6.1             98.0              .0         3.4             .0          13.6

                      6                1        2.0             2.0            100.0              .0         2.0             .0           6.8

                      Total           49     100.0           100.0                                .0           .0      100.0            100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples



                                                                      78
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             Subsample: Purchasers of Ricola Original Herb Cough Drops

             Ricola Edited Label: Contains the phrase “4.8mg of menthol per drop”


                                                 dec_redita
                                                                                   Cumulative
                                 Frequency         Percent       Valid Percent         Percent
              Valid    3                    8             80.0             80.0                  80.0
                       4                    1             10.0             10.0                  90.0
                       5                    1             10.0             10.0             100.0
                       Total                10         100.0              100.0
              a. Some or all bootstrap sample results are missing, so no bootstrap estimation
              has been performed for this table.



             Full Sample

             “First Choice” Label


                                                                     dec_fcorig
                                                                                                          Bootstrap for Percenta
                                                                                                                        95% Confidence
                                                                           Cumulative                                       Interval
                               Frequency     Percent      Valid Percent      Percent         Bias        Std. Error   Lower        Upper
              Valid   1                54          52.4            52.4            52.4             .0         4.9         42.7         62.1

                      2                 4           3.9             3.9            56.3             .0         1.9          1.0          7.8

                      3                27          26.2            26.2            82.5             .0         4.3         18.4         35.0

                      4                 9           8.7             8.7            91.3             .0         2.8          3.9         14.6

                      5                 9           8.7             8.7           100.0             .0         2.8          3.9         14.6

                      Total          103         100.0            100.0                             .0           .0      100.0         100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples




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             Full Sample

             “First Choice” Edited Label: Contains the phrase “4.8mg of menthol per drop”


                                                                    dec_fcedit
                                                                                                    Bootstrap for Percenta
                                                                                                                  95% Confidence
                                                           Valid         Cumulative                                   Interval
                               Frequency       Percent    Percent         Percent       Bias        Std. Error   Lower        Upper
              Valid   1               31          27.9         27.9              27.9          .0         4.3       19.8          36.9

                      2                   9         8.1            8.1           36.0          .0         2.6         3.6         13.5

                      3               50          45.0         45.0              81.1          .0         4.7       36.0          54.1

                      4               12          10.8         10.8              91.9          .0         2.9         5.4         17.1

                      5                   5         4.5            4.5           96.4          .0         2.0            .9        9.0

                      6                   4         3.6            3.6          100.0          .0         1.8            .9        7.2

                      Total          111         100.0        100.0                            .0           .0     100.0         100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples




             Logistic Regression

             Ricola Brand Conditions


                      Case Processing
                         Summary
                                N             Percent
              Included              193         94.6%
              Excluded               11          5.4%
              Total                 204        100.0%




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                                                            Tests of Model Effects
                                                                                       Type III
              Source                                        Wald Chi-Square                       df                   Sig.
              (Intercept)                                                      1.245                      1                     .265
              race_w                                                            .443                      1                     .506
              hisp                                                              .002                      1                     .961
              score_state                                                      4.261                      3                     .235
              purch_ric                                                        1.270                      1                     .260
              gender                                                            .390                      1                     .532
              news                                                             2.869                      2                     .238
              long                                                             1.558                      1                     .212
              short                                                            1.135                      1                     .287
              Condition                                                       16.894                      1                    <.001
              survey_meds                                                       .701                      1                     .402
              ind_pharm                                                        3.533                      1                     .060
              ind_health                                                       3.542                      1                     .060
              ind_mkt                                                           .020                      1                     .887
              ind_mr                                                            .043                      1                     .835
              freqpurch                                                        1.167                      1                     .280
              age                                                              1.075                      1                     .300
              ed                                                                .054                      1                     .816
              inc                                                               .045                      1                     .832
              Dependent Variable: confused
              Model: (Intercept), race_w, hisp, score_state, purch_ric, gender, news, long, short, Condition, survey_meds, ind_pharm,
              ind_health, ind_mkt, ind_mr, freqpurch, age, ed, inc




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                                                      Parameter
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                            3:22-cv-03071-CRL-KLM           23-3 Estimates
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                                                                95% Wald Confidence Interval                 Hypothesis Test
                                                                                                   Wald Chi-
          Parameter                B           Std. Error          Lower           Upper            Square            df       Sig.
          (Intercept)                  -.395        .9953              -2.346          1.556                 .157          1      .692
          [race_w=1]                   -.356        .5344              -1.403              .692              .443          1      .506
          [race_w=0]                     0a                 .               .                  .                .          .          .
          [hisp=1]                     -.024        .4939               -.993              .944              .002          1      .961
          [hisp=0]                       0a                 .               .                  .                .          .          .
          [score_state=4]              -.333        .5755              -1.461              .795              .334          1      .563
          [score_state=3]              -.425        .5269              -1.458              .608              .650          1      .420
          [score_state=2]           -1.225          .6060              -2.412           -.037            4.084             1      .043
          [score_state=1]                0a                 .               .                  .                .          .          .
          [purch_ric=1]                .482         .4279               -.357          1.321             1.270             1      .260
          [purch_ric=0]                  0a                 .               .                  .                .          .          .
          [gender=1]                   -.269        .4308              -1.114              .575              .390          1      .532
          [gender=0]                     0a                 .               .                  .                .          .          .
          [news=99]                 -1.197          .7255              -2.618              .225          2.720             1      .099
          [news=1]                     .076         .5059               -.916          1.067                 .022          1      .881
          [news=0]                       0a                 .               .                  .                .          .          .
          [long=1.00]               -1.374         1.1012              -3.533              .784          1.558             1      .212
          [long=.00]                     0a                 .               .                  .                .          .          .
          [short=1.00]                 .710         .6664               -.596          2.016             1.135             1      .287
          [short=.00]                    0a                 .               .                  .                .          .          .
          [Condition=4]             -1.916          .4660              -2.829          -1.002           16.894             1    <.001
          [Condition=3]                  0a                 .               .                  .                .          .          .
          [survey_meds=1]              .440         .5252               -.590          1.469                 .701          1      .402
          [survey_meds=0]                0a                 .               .                  .                .          .          .
          [ind_pharm=1]             2.160          1.1491               -.092          4.412             3.533             1      .060
          [ind_pharm=0]                  0a                 .               .                  .                .          .          .
          [ind_health=1]            1.028           .5461               -.043          2.098             3.542             1      .060
          [ind_health=0]                 0a                 .               .                  .                .          .          .
          [ind_mkt=1]                  -.135        .9498              -1.996          1.727                 .020          1      .887
          [ind_mkt=0]                    0a                 .               .                  .                .          .          .
          [ind_mr=1]                   -.229       1.0996              -2.384          1.927                 .043          1      .835
          [ind_mr=0]                     0a                 .               .                  .                .          .          .
          freqpurch                    -.017        .0155               -.047              .014          1.167             1      .280
          age                          .134         .1292               -.119              .387          1.075             1      .300
          ed                           .036         .1551               -.268              .340              .054          1      .816
          inc                    -9.895E-7     4.6646E-6            -1.013E-5       8.153E-6                 .045          1      .832
          (Scale)                        1b




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          Dependent Variable: confused
          Model: (Intercept), race_w, hisp, score_state, purch_ric, gender, news, long, short, Condition, survey_meds, ind_pharm,
          ind_health, ind_mkt, ind_mr, freqpurch, age, ed, inc
          a. Set to zero because this parameter is redundant.
          b. Fixed at the displayed value.




             All Four Conditions




                      Case Processing
                         Summary
                                 N           Percent
              Included               404       65.9%
              Excluded               209       34.1%
              Total                  613      100.0%




                                                                    83
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                                 Tests of Model Effects
                                                           Type III
                                          Wald Chi-
              Source                       Square               df             Sig.
              (Intercept)                           .004              1           .948
              race_w                                .096              1           .757
              hisp                                  .058              1           .810
              score_state                       1.821                 3           .610
              purch_ric                             .493              1           .483
              gender                                .016              1           .899
              news                              1.663                 2           .435
              long                                  .558              1           .455
              short                             3.154                 1           .076
              cond_ric                         10.055                 1           .002
              cond_edit                        37.766                 1         <.001
              cond_ric * cond_edit              2.283                 1           .131
              survey_meds                           .007              1           .935
              ind_pharm                         7.209                 1           .007
              ind_health                            .831              1           .362
              ind_mkt                               .063              1           .803
              ind_mr                                .074              1           .786
              freqpurch                             .316              1           .574
              age                               2.366                 1           .124
              ed                                    .902              1           .342
              inc                              12.662                 1         <.001
              Dependent Variable: confused
              Model: (Intercept), race_w, hisp, score_state, purch_ric, gender,
              news, long, short, cond_ric, cond_edit, cond_ric * cond_edit,
              survey_meds, ind_pharm, ind_health, ind_mkt, ind_mr, freqpurch,
              age, ed, inc




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                                                             Parameter Estimates
                                                                         95% Wald Confidence
                                                                                 Interval                        Hypothesis Test
                                                                                                          Wald Chi-
              Parameter                      B          Std. Error       Lower              Upper          Square         df       Sig.
              (Intercept)                        .051       .6786             -1.279           1.381             .006          1     .941
              [race_w=1]                         .098       .3153              -.520            .715             .096          1     .757
              [race_w=0]                           0a                .             .                .                 .        .          .
              [hisp=1]                           .076       .3167              -.545            .697             .058          1     .810
              [hisp=0]                             0a                .             .                .                 .        .          .
              [score_state=4]                 -.319         .3670             -1.038            .400             .755          1     .385
              [score_state=3]                 -.253         .3398              -.919            .412             .556          1     .456
              [score_state=2]                 -.504         .3803             -1.250            .241            1.757          1     .185
              [score_state=1]                      0a                .             .                .                 .        .          .
              [purch_ric=1]                      .172       .2448              -.308            .652             .493          1     .483
              [purch_ric=0]                        0a                .             .                .                 .        .          .
              [gender=1]                         .035       .2740              -.502            .572             .016          1     .899
              [gender=0]                           0a                .             .                .                 .        .          .
              [news=99]                       -.722         .6589             -2.013            .570            1.200          1     .273
              [news=1]                        -.264         .3267              -.904            .376             .654          1     .419
              [news=0]                             0a                .             .                .                 .        .          .
              [long=1.00]                        .295       .3949              -.479           1.069             .558          1     .455
              [long=.00]                           0a                .             .                .                 .        .          .
              [short=1.00]                       .775       .4366              -.080           1.631            3.154          1     .076
              [short=.00]                          0a                .             .                .                 .        .          .
              [cond_ric=1.00]                 -.445         .2970             -1.027            .137            2.242          1     .134
              [cond_ric=.00]                       0a                .             .                .                 .        .          .
              [cond_edit=1.00]               -1.243         .3045             -1.840            -.646         16.662           1    <.001
              [cond_edit=.00]                      0a                .             .                .                 .        .          .
              [cond_ric=1.00]          *      -.793         .5248             -1.822            .236            2.283          1     .131
              [cond_edit=1.00]
              [cond_ric=1.00]          *           0a                .             .                .                 .        .          .
              [cond_edit=.00]
              [cond_ric=.00]           *           0a                .             .                .                 .        .          .
              [cond_edit=1.00]
              [cond_ric=.00]           *           0a                .             .                .                 .        .          .
              [cond_edit=.00]
              [survey_meds=1]                 -.028         .3488              -.712            .655             .007          1     .935



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              [survey_meds=0]                       0a            .               .                .                .           .           .
              [ind_pharm=1]                      1.790       .6665             .483           3.096            7.209           1        .007
              [ind_pharm=0]                         0a            .               .                .                .           .           .
              [ind_health=1]                      .316       .3466            -.363            .995             .831           1        .362
              [ind_health=0]                        0a            .               .                .                .           .           .
              [ind_mkt=1]                        -.163       .6538           -1.445           1.118             .063           1        .803
              [ind_mkt=0]                           0a            .               .                .                .           .           .
              [ind_mr=1]                         -.276      1.0153           -2.266           1.714             .074           1        .786
              [ind_mr=0]                            0a            .               .                .                .           .           .
              freqpurch                          -.005       .0085            -.021            .012             .316           1        .574
              age                                 .132       .0856            -.036            .299            2.366           1        .124
              ed                                  .087       .0915            -.092            .266             .902           1        .342
              inc                          -1.156E-5     3.2498E-6       -1.793E-5       -5.194E-6           12.662            1       <.001
              (Scale)                               1b
              Dependent Variable: confused
              Model: (Intercept), race_w, hisp, score_state, purch_ric, gender, news, long, short, cond_ric, cond_edit, cond_ric * cond_edit,
              survey_meds, ind_pharm, ind_health, ind_mkt, ind_mr, freqpurch, age, ed, inc
              a. Set to zero because this parameter is redundant.
              b. Fixed at the displayed value.




             Materiality Descriptive Statistics



             Full Sample

             “Would you prefer to purchase HERBAL COUGH DROP A, HERBAL COUGH DROP B,
             or would you not purchase either of them?”

             1=Would purchase Herbal Cough Drop A

             2=Would purchase Herbal Cough Drop B

             88=Would NOT purchase either of these options

             99=Don’t know




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             Condition 1: Herbal Cough Drop A source of medicinal benefits=Herbs, Herbal Cough Drop

             B source of medicinal benefits = Menthol (4.8 mg per drop)


                                                 mat_1
                                                                               Cumulative
                                    Frequency    Percent      Valid Percent     Percent
              Valid        1                48        7.8               51.1              51.1
                           2                34        5.5               36.2              87.2
                           88                8        1.3                8.5              95.7
                           99                4           .7              4.3          100.0
                           Total            94       15.3              100.0
              Missing      System          519       84.7
              Total                        613      100.0




             Condition 2: Herbal Cough Drop A source of medicinal benefits= Menthol (4.8 mg per drop),

             Herbal Cough Drop B source of medicinal benefits = Herbs


                                                 mat_2
                                                                               Cumulative
                                    Frequency    Percent      Valid Percent     Percent
              Valid        1                41        6.7               40.6              40.6
                           2                47        7.7               46.5              87.1
                           88                4           .7              4.0              91.1
                           99                9        1.5                8.9          100.0
                           Total           101       16.5              100.0
              Missing      System          512       83.5
              Total                        613      100.0




                                                                  87
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             Percent Preferring Herbs as the Source of Medicinal Benefits


                                                                       prefherbs
                                                                                                                 Bootstrap for Percenta
                                                                                                                                    95% Confidence
                                                                              Cumulative                                                 Interval
                                Frequency      Percent    Valid Percent         Percent            Bias        Std. Error       Lower           Upper
              Valid   .00               75         44.1              44.1                 44.1            .0           3.8            36.5           51.8

                      1.00              95         55.9              55.9             100.0               .0           3.8            48.2           63.5

                      Total            170       100.0              100.0                                 .0            .0           100.0          100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples




             Subsample: Purchasers of Ricola Products



             Percent Preferring Herbs as the Source of Medicinal Benefits


                                                                    prefherbs
                                                                                                        Bootstrap for Percenta
                                                                                                                       95% Confidence
                                Frequenc                   Valid       Cumulative                         Std.                Interval
                                   y         Percent      Percent           Percent         Bias          Error        Lower           Upper
              Valid   .00              30       38.0           38.0                38.0            .0          5.5           27.2            48.8

                      1.00             49       62.0           62.0               100.0            .0          5.5           51.2            72.8

                      Total            79      100.0          100.0                                .0             .0     100.0            100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples




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             Subsample: Purchasers of Ricola Original Herb Cough Drops



             Percent Preferring Herbs as the Source of Medicinal Benefits



                                                                       prefherbs
                                                                                                        Bootstrap for Percenta
                                                                                                                      95% Confidence
                                                                            Cumulative                                    Interval
                                Frequency        Percent    Valid Percent    Percent        Bias        Std. Error   Lower       Upper
              Valid   .00                  4         25.0           25.0             25.0          .1        11.2         5.9         50.0

                      1.00                 12        75.0           75.0            100.0      -.1           11.2        50.0         94.1

                      Total                16       100.0          100.0                      -1.7           13.1      100.0         100.0

              a. Unless otherwise noted, bootstrap results are based on 25000 bootstrap samples




             Logistic Regression: Preference for Herbs as the Source of Benefits




                      Case Processing
                         Summary
                                 N              Percent
              Included               158          25.8%
              Excluded               455          74.2%
              Total                  613         100.0%




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                                Tests of Model Effects
                                                     Type III
                                    Wald Chi-
              Source                 Square               df        Sig.
              (Intercept)                 2.116                 1      .146
              race_w                      3.330                 1      .068
              hisp                        7.575                 1      .006
              score_state                 5.442                 3      .142
              purch_ric                   3.116                 1      .078
              gender                          .892              1      .345
              freqpurch                       .001              1      .969
              age                         1.655                 1      .198
              ed                              .384              1      .535
              inc                             .168              1      .682
              news                        3.365                 2      .186
              long                        1.038                 1      .308
              survey_meds                 7.368                 1      .007
              ind_pharm                   1.234                 1      .267
              ind_health                      .350              1      .554
              ind_mkt                         .005              1      .946
              ind_mr                      1.368                 1      .242
              Dependent Variable: prefherbs
              Model: (Intercept), race_w, hisp, score_state, purch_ric,
              gender, freqpurch, age, ed, inc, news, long, survey_meds,
              ind_pharm, ind_health, ind_mkt, ind_mr




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                                                              Parameter Estimates
                                                                  95% Wald Confidence Interval             Hypothesis Test
                                                                                                 Wald Chi-
              Parameter               B          Std. Error          Lower          Upper         Square           df        Sig.
              (Intercept)              1.956        1.1661                -.330          4.241         2.812            1      .094
              [race_w=1]               -.849          .4652              -1.761           .063         3.330            1      .068
              [race_w=0]                    0a                .                .             .               .          .           .
              [hisp=1]                -1.323          .4809              -2.266          -.381         7.575            1      .006
              [hisp=0]                      0a                .                .             .               .          .           .
              [score_state=4]             .712        .6180               -.500          1.923         1.326            1      .250
              [score_state=3]             .617        .5619               -.484          1.719         1.207            1      .272
              [score_state=2]          -.377          .6060              -1.565           .811          .387            1      .534
              [score_state=1]               0a                .                .             .               .          .           .
              [purch_ric=1]               .694        .3931               -.077          1.464         3.116            1      .078
              [purch_ric=0]                 0a                .                .             .               .          .           .
              [gender=1]               -.399          .4225              -1.227           .429          .892            1      .345
              [gender=0]                    0a                .                .             .               .          .           .
              freqpurch                   .001        .0135               -.026           .027          .001            1      .969
              age                      -.166          .1290               -.419           .087         1.655            1      .198
              ed                       -.099          .1598               -.412           .214          .384            1      .535
              inc                  -1.782E-6     4.3444E-6            -1.030E-5      6.732E-6           .168            1      .682
              [news=99]                   .575        .6709               -.740          1.890          .736            1      .391
              [news=1]                 1.112          .6364               -.136          2.359         3.052            1      .081
              [news=0]                      0a                .                .             .               .          .           .
              [long=1.00]                 .645        .6327               -.595          1.885         1.038            1      .308
              [long=.00]                    0a                .                .             .               .          .           .
              [survey_meds=1]         -1.723          .6348              -2.967          -.479         7.368            1      .007
              [survey_meds=0]               0a                .                .             .               .          .           .
              [ind_pharm=1]           -1.249        1.1240               -3.452           .954         1.234            1      .267
              [ind_pharm=0]                 0a                .                .             .               .          .           .
              [ind_health=1]           -.316          .5351              -1.365           .732          .350            1      .554
              [ind_health=0]                0a                .                .             .               .          .           .
              [ind_mkt=1]                 .056        .8309              -1.572          1.685          .005            1      .946
              [ind_mkt=0]                   0a                .                .             .               .          .           .
              [ind_mr=1]               1.405        1.2009                -.949          3.758         1.368            1      .242
              [ind_mr=0]                    0a                .                .             .               .          .           .
              (Scale)                       1b




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              Dependent Variable: prefherbs
              Model: (Intercept), race_w, hisp, score_state, purch_ric, gender, freqpurch, age, ed, inc, news, long, survey_meds,
              ind_pharm, ind_health, ind_mkt, ind_mr
              a. Set to zero because this parameter is redundant.
              b. Fixed at the displayed value.




                              Tests of Model Effects
                                                     Type III
                                   Wald Chi-
              Source                 Square               df        Sig.
              (Intercept)                  3.219                1      .073
              race_w                       2.360                1      .125
              hisp                         6.640                1      .010
              score_state                  6.286                3      .098
              purch_ricorig                2.393                1      .122
              gender                          .460              1      .498
              freqpurch                       .093              1      .760
              age                          1.945                1      .163
              ed                              .485              1      .486
              inc                             .318              1      .573
              news                         2.807                2      .246
              long                            .991              1      .319
              survey_meds                  7.627                1      .006
              ind_pharm                    1.696                1      .193
              ind_health                      .425              1      .514
              ind_mkt                         .001              1      .981
              ind_mr                       1.476                1      .224
              Dependent Variable: prefherbs
              Model: (Intercept), race_w, hisp, score_state, purch_ricorig,
              gender, freqpurch, age, ed, inc, news, long, survey_meds,
              ind_pharm, ind_health, ind_mkt, ind_mr




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                                                              Parameter Estimates
                                                                  95% Wald Confidence
                                                                          Interval                      Hypothesis Test
                                                                                                 Wald Chi-
              Parameter               B          Std. Error       Lower              Upper        Square         df       Sig.
              (Intercept)             2.083         1.1271            -.126             4.292          3.415          1     .065
              [race_w=1]               -.746          .4857          -1.698              .206          2.360          1     .125
              [race_w=0]                    0a                .             .                .               .        .          .
              [hisp=1]                -1.260          .4891          -2.219              -.302         6.640          1     .010
              [hisp=0]                      0a                .             .                .               .        .          .
              [score_state=4]             .858        .6235           -.364             2.080          1.893          1     .169
              [score_state=3]             .642        .5412           -.419             1.703          1.408          1     .235
              [score_state=2]          -.383          .5932          -1.546              .779           .418          1     .518
              [score_state=1]               0a                .             .                .               .        .          .
              [purch_ricorig=1]       1.192           .7707           -.318             2.703          2.393          1     .122
              [purch_ricorig=0]             0a                .             .                .               .        .          .
              [gender=1]               -.275          .4057          -1.070              .520           .460          1     .498
              [gender=0]                    0a                .             .                .               .        .          .
              freqpurch                   .004        .0141           -.023              .032           .093          1     .760
              age                      -.177          .1272           -.427              .072          1.945          1     .163
              ed                       -.112          .1612           -.428              .204           .485          1     .486
              inc                  -2.439E-6     4.3276E-6        -1.092E-5          6.043E-6           .318          1     .573
              [news=99]                   .618        .7307           -.814             2.051           .716          1     .397
              [news=1]                1.016           .6477           -.254             2.285          2.460          1     .117
              [news=0]                      0a                .             .                .               .        .          .
              [long=1.00]                 .649        .6517           -.629             1.926           .991          1     .319
              [long=.00]                    0a                .             .                .               .        .          .
              [survey_meds=1]         -1.785          .6464          -3.052              -.518         7.627          1     .006
              [survey_meds=0]               0a                .             .                .               .        .          .
              [ind_pharm=1]           -1.452        1.1147           -3.637              .733          1.696          1     .193
              [ind_pharm=0]                 0a                .             .                .               .        .          .
              [ind_health=1]           -.366          .5610          -1.465              .734           .425          1     .514
              [ind_health=0]                0a                .             .                .               .        .          .
              [ind_mkt=1]                 .021        .8990          -1.741             1.783           .001          1     .981
              [ind_mkt=0]                   0a                .             .                .               .        .          .
              [ind_mr=1]              1.451         1.1943            -.890             3.792          1.476          1     .224
              [ind_mr=0]                    0a                .             .                .               .        .          .




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              (Scale)                      1b
              Dependent Variable: prefherbs
              Model: (Intercept), race_w, hisp, score_state, purch_ricorig, gender, freqpurch, age, ed, inc, news, long,
              survey_meds, ind_pharm, ind_health, ind_mkt, ind_mr
              a. Set to zero because this parameter is redundant.
              b. Fixed at the displayed value.




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